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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      United States District Court
                                                                        for the
                                                          District of New Hampshire

              In the Matter ofthe Search of
                                                                            )
         (Briefly describe the property to be searched                      )
          or identify the person by name and address)                       )               Case No. 1-21-mj-64-01-AJ
  Bitcoin Embassy a/k/a Mighty Moose Mart(formerly                          )
 Route 101 Goods),661 Marlboro Street, Keene, New                           )
                                                                            )
                     Hampshire
    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of peijuiy that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
  Please see attachment A-2.

located in the                                    District of             New Hampshire                 ,there is now concealed (identify the
person or describe the property to be seted):
 Please see attachment B-2.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                 sf evidence of a crime;
                 Sf contraband, fruits ofcrime, or other items illegally possessed;
                 SZf property designed for use, intended for use, or used in committing a crime;
                 □ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
            Code Section                                                                    Offense Description
        18U.S.C. §§1960, 371                      - Prohibition of Unlicensed Money Transmitting Business and Conspiracy
        18U.S.C. §§ 1343, 1349                    - Conspiracy to Commit Wire Fraud, and Wire Fraud
        18 U.S.C. § 1956(a)                       - Laundering of Monetary Instruments Including Funds Represented to be Proceeds of Specified
                                                  Unlawful Activity
         The application is based on these facts:
        Please see attached affidavit.

           fif Continued on the attached sheet.
           □ Delayed notice of        days (give exact ending date ifmore than 30 days:                                   ; is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                                       /s/ Kathryn Thibault
                                                                                                       Applicant’s signature

                                                                                               Special Agent Kathryn Thibault, FBI
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
        Telephonic conference                                        (specify rettnhip


Date:             03/15/2021
                                                                                                         Judge's signature

City and State: Concord, New Hampshire                                               Hon. Andrea K. Johnstone, U.S. Magistrate Judge
                                                                                                       Printed name and title
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                   AFFIDAVIT IN SUPPORT OF SEARCH WARRANTS

       I, Kathryn Thibault, being duly sworn, hereby depose and state as follows:

                                    I.      INTRODUCTION

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”), reporting

to the Boston, Massachusetts Division, and have been employed by the FBI since October 1998.

1 am currently assigned to the Bedford Resident Agency of the FBI and am assigned to work

primarily on white collar crime cases. I am familiar with the tactics, methods and techniques of

people who commit bank fraud, wire fraud, money laundering and violations of regulations

relating to money services businesses. I have attended numerous federal agency and private

sponsored training courses. In June 2017,1 attended an on-line networking and enterprise

training conference in Atlanta, Georgia where cryptocurrency, use of e-mail in money laundering

cases and the dark web were topics of instruction. 1 have participated in financial investigations,

and am aware of how targets use the financial system to launder proceeds of illegal activities. As

a Special Agent with the FBI, I am responsible for conducting criminal investigations involving

violations of Title 18 of the United States Code and other federal statutes enforced by the FBI.

       2.      In addition, in conducting this investigation and preparing this affidavit, 1 have

consulted with FBI personnel who have substantial expertise investigating crimes involving

virtual currency. I have worked closely with FBI analysts who are assigned to FBI Headquarters

on the Virtual Currency Evolving Threats(VCET)Team. Specifically, I have worked with two

analysts who, as part oftheir duties at the FBI, have participated in complex international

investigations into money laundering facilitators, cyber criminals, national and transnational

criminal enterprises, organized crime, and violent crimes. They have extensive experience

investigating criminal organizations that leverage virtual assets to launder illicit proceeds, to

include violations involving money laundering and operating an unlicensed money transmitting

business. Through the course of these investigations, they have advised on investigative strategy,

analyzed financial flows, reviewed legal process, and affected virtual asset seizures. They have
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also provided training to federal and international law enforcement partners and prosecutorial

authorities and participated in numerous virtual currency conferences. Statements in this affidavit

regarding virtual currency and the law surrounding virtual currency are based in part on my own

knowledge and in part on my conversations and consultation with them.

                           II.     PURPOSE OF THE AFFIDAVIT

       3.      This affidavit is submitted in support of an application for a search warrant for

evidence, contraband, fruits, and instrumentalities of violations of 18 U.S.C. §§ 1960, 371

(prohibition of unlicensed money transmitting business and conspiracy), 18 U.S.C. §§ 1343,

1349(conspiracy to commit wire fraud and wire fraud), 18 U.S.C. § 1956(a)(laundering of

monetary instruments, including funds represented to be proceeds of specified unlawful activity),

31 U.S.C. §§ 5313(a) and 5322(failure to file currency transaction reports (“CTRs”)), and 31

U.S.C. § 5318(h) and 5322(failure to maintain an effective anti-money laundering program)

(collectively, the “Subject Offenses”). As set forth below, there is probable cause to search for

evidence, contraband, fruits, and instrumentalities of these offenses, as set forth in

ATTACHMENTS B-1 through B-15 at the premises described in ATTACHMENTS A-1

through A-15 (hereby incorporated).

       4.      On or about March 15, 2021, a federal Grand Jury in the District of New

Hampshire returned an indictment charging Ian Freeman (“Freeman”), Colleen Fordham

(“Fordham”), Renee Spinella (“R. Spinella”), Andrew Spinella (“A. Spinella”), No First Name

Nobody (“Nobody”) and Aria DiMezzo (“DiMezzo”) with conspiracy to operate an unlicensed

money transmitting business in violation of Title 18 United States Code Sections 371, 1960(a),

and 1960(b)(1)(B). The indictment charges Freeman, Fordham, R. Spinella, A. Spinella and

Nobody with conspiracy to commit wire fraud in violation of Title 18, United States Code,

Sections 1343 and 1349 and wire fraud and Freeman with operating a continuing financial

crimes enterprise in violation of Title 18 United States Code Section 225 and money laundering

in violation of Title 18 United States Code Sections 1956(a)(3)(B). It also charges DiMezzo and

Freeman with operating an unlicensed money transmitting business. Accordingly, given the



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Grand Jury’s determination of probable cause, this affidavit will present an overview of the

investigation and allegations with respect to these individuals while focusing on facts giving rise

to probable cause to support the issuance of search warrants for the specified locations and

persons which, investigators believe, will yield evidence of criminal activity, contraband, and

fruits and instrumentalities of these crimes.

          5.   The facts set forth in this affidavit are based upon my personal observations, my

training and experience, and information obtained from other agents and witnesses. This

affidavit is intended to show merely that there is sufficient probable cause for the requested

warrants and does not purport to set forth all of my knowledge of or investigation into this

matter.

                            III.   PREMISES TO BE SEARCHED

          6.   The premises to be searched, more fully described in Attachments A-1 to A-15,

which are incorporated by reference and included as though fully set forth herein are:

 SUBJECT PREMISES             LOCATION

 A-1                          73-75 Leverett Street, Keene, New Hampshire

 A-2                          Bitcoin Embassy aka Mighty Moose Mart(formerly Route 101
                              Goods), 661 Marlboro Street, Keene, New Hampshire

 A-3                          142 Chester Rd., Derry, New Hampshire

 A-4                          788 Alstead Center Rd., Alstead, New Hampshire

 A-5                          Keene Convenience, 152 Winchester St., Keene, New Hampshire
                              (Location containing an ATM operated by Freeman)

 A-6                          Murphy’s Taproom,494 Elm St., Manchester, New Hampshire
                              (Location containing an ATM operated by Freeman)

 A-7                          659 Marlboro Street, Keene, New Hampshire

 A-8                          Red Arrow Diner, 149 Daniel Webster Highway, Nashua, New
                              Hampshire
                              (Location containing an ATM operated by Freeman)




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 A-9                          Person of Aria DiMezzo

 A-10                         Person of Colleen Fordham

 A-11                         Person of Ian Freeman

 A-12                         Person of Nobody

 A-13                         Person of Renee Spinella

 A-14                         Person of Andrew Spinella

 A-15                         Person of Christopher Rietmann



        7.     A-1 describes the residences of Freeman and Nobody, A-2 describes a business

used by Freeman, Fordham, Christopher Rietmann (“Rietmann”) and co-conspirators, A-3

describes the residence of R. Spinella and A. Spinella, A-4 describes the residence of Fordham,

A-7 describes the residence of DiMezzo, and A-5, A-6, and A-8 are businesses where

cryptocurrency ATMs(sometimes called cryptocurrency kiosks or vending machines) operated

by Freeman and his co-conspirators are located. The government seeks warrants to seize only

the kiosks and related instrumentalities, including their cash contents, at the various business

locations described in A-5, A-6, and A-8.

                    IV.     BACKGROUND ON VIRTUAL CURRENCY

        8.     Virtual currency (also known as virtual assets, cryptocurrency, or digital currency,

for purposes of this affidavit) is generally defined as an electronic-sourced unit of value that can

be used as a substitute for fiat currency (i.e., currency created and regulated by a government).

Examples of cryptocurrency are Bitcoin, Bitcoin Cash, Dash, Monero, and Ether. Virtual

currency exists on the Internet, in electronic storage devices, or in cloud-based servers. Virtual

currency is not issued by any government, bank, or company and is instead often generated and

controlled through computer software operating on a decentralized peer-to-peer network. Most

cryptocurrencies have a “blockchain,” which is a distributed public ledger, run by the




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                                                                                                           1
decentralized network, containing an immutable and historical record of every transaction.

Virtual currency is not illegal in the United States and may be used for legitimate financial

transactions. However, virtual currency is often used for conducting illegal transactions, such as

the sale of controlled substances.

        9.       Bitcoin is a type of virtual currency. Bitcoin payments are recorded on a public

ledger that is maintained by peer-to-peer verification, and is thus not maintained by a single

administrator or entity. Individuals can acquire Bitcoins either by “mining” or by purchasing

Bitcoins from other individuals. An individual can “mine” for Bitcoins by allowing his/her

computing power to verify and record the Bitcoin payments into a public ledger. Individuals are

rewarded for this by being given newly created Bitcoins.

         10.      An individual can send and receive Bitcoins through peer-to-peer digital

transactions or by using a third-party broker. Specifically, individuals can acquire bitcoin

through exchanges (i.e., online companies which allow individuals to purchase or sell

cryptocurrencies in exchange for fiat currencies or other cryptocurrencies), bitcoin ATMs,or

directly from other people. Such transactions can be done on any type of computer, including

laptop computers and smart phones.

         11.      Bitcoins are stored in digital “wallets.” A digital wallet essentially stores the

access code that allows an individual to conduct Bitcoin transactions on the public ledger. To

access bitcoins on the public ledger, an individual must use a public address and a private key.

The public address can be analogized to an account number while the private key is like the

password to access that account. A public address is represented as a case-sensitive string of

letters and numbers, 26-35 characters long or a lowercase string of letters and numbers

beginning with the prefix “bclq.” Each public address is controlled and/or accessed through the

use of a unique corresponding private key—the cryptographic equivalent of a password or PIN-

needed to access the address. Only the holder of an address’ private key can authorize any



' Some cryptocurrencies, like Monero, operate on blockchains that are not public and operate in such a way to
obfuscate transactions, making it difficult to trace or attribute transactions.


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transfers of cryptocurrency from that address to another cryptocurrency address. When sending

Bitcoin to a public address, an individual may also scan a “QR” code (i.e., a barcode)that

contains the address, for easier transmission of that address.

       12.     Exchangers and users of cryptocurrencies store and transact their cryptocurrency

in a number of ways, as wallet software can be housed in a variety of forms, including on a

tangible, external device (“hardware wallet”), downloaded on a PC or laptop (“desktop wallet”),

with an Internet-based cloud storage provider (“online wallet”), as a mobile application on a

smartphone or tablet(“mobile wallet”), printed public and private keys(“paper wallet”), and as

an online account associated with a cryptocurrency exchange. Because these desktop, mobile,

and online wallets are electronic in nature, they are located on mobile devices (e.g., smart phones

or tablets) or at websites that users can access via a computer, smart phone, or any device that

can search the Internet. Moreover, hardware wallets are located on some type of external or

removable media device, such as a USB thumb drive or other commercially available device

designed to store cryptocurrency (e.g. Trezor, Keepkey, or Ledger).

        13.    Wallets can also be backed up with a “recovery seed,” sometimes called a “root

key” or “seed key.” Recovery seeds are word sequences that represent(encode) a random

number used as a seed to derive a wallet. The sequence of words is the wallet backup and can

recover and re-create the wallet and all the derived keys in the same or any compatible wallet

application.

        14.    Wallets, represented through recovery seeds and/or private keys, can be backed

up into many forms, for example, paper printouts, USB drives, word processing files, or CDs.

Additional security safeguards for cryptocurrency wallets can include a complex password

and/or two-factor authorization (such as a password and a phrase). Individuals possessing

cryptocurrencies often have safeguards in place to ensure that their cryptocurrencies become

further secured in the event that their assets become potentially vulnerable to seizure and/or

unauthorized transfer.




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       15.     Some companies offer cryptocurrency wallet services which allow users to

download a digital wallet application onto their smart phone or other digital device (“private

wallets”). A user typically accesses the private wallet application by inputting a user-generated

PIN code or password. Users can store, receive, and transfer cryptocurrencies via the

application; however, many of these companies do not store or otherwise have access to their

users’ funds or the private keys that are necessary to access users’ wallet applications. Rather,

the private keys are stored on the device on which the wallet application is installed (or any

digital or physical backup private key that the user creates). As a result, these companies

generally cannot assist in seizing or otherwise restraining their users’

cryptocurrency. Nevertheless, law enforcement could seize cryptocurrency from the user’s

wallet directly, such as by accessing the user’s smart phone, accessing the wallet application, and

transferring the cryptocurrency therein to a law enforcement-controlled wallet. Alternatively,

where law enforcement has obtained the recovery seed for a wallet(see above), law enforcement

may be able to use the recovery seed phrase to recover or reconstitute the wallet on a different

digital device and subsequently transfer cryptocurrencies held within the new wallet to a law

enforcement-controlled wallet.

        16.    AH Bitcoin transactions are recorded on a public ledger known as the

“Blockchain,” stored on the peer-to-peer network on which the Bitcoin system operates. The

Blockchain serves to prevent a user from spending the same Bitcoins more than once. However,

the Blockchain only reflects the movement of funds between anonymous Bitcoin addresses and,

therefore, cannot by itself be used to determine the identities of the persons involved in the

transactions. Only if one knows the identities associated with each Bitcoin address involved in a

set of transactions is it possible to meaningfully trace funds through the system.

        17.    Even though the public addresses of those engaging in Bitcoin transactions are

recorded on the public ledger, the true identities of the individuals or entities behind the public

addresses are not recorded. If, however, a real individual or entity is linked to a public address, it

would be possible to determine what transactions were conducted by that individual or entity.



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Bitcoin transactions are, therefore, described as “pseudonymous,” meaning they are partially

anonymous.

         18.     Although cryptocurrencies such as bitcoin have legitimate uses, cryptocurrency is

also used by individuals and organizations for criminal purposes such as money laundering, and

is an oft-used means of payment for illegal goods and services on hidden services websites

operating on the Dark Web, websites accessible only through encrypted means. By maintaining

multiple wallets, those who use cryptocurrency for illicit purposes can attempt to thwart law

enforcement’s efforts to track purchases within the Dark Web marketplaces. Through the Dark

Web or Darknet, i.e., websites accessible only through encrypted means, individuals have

established online marketplaces, such as the Silk Road,for narcotics and other illegal items.

These markets often only accept payment through virtual currencies, such as Bitcoin.

Accordingly, large amounts of Bitcoin sales or purchases by an individual can be an indicator

that the individual is involved in narcotics trafficking or the distribution of other illegal items.

Individuals intending to purchase illegal items on Silk Road-like websites need to purchase or

barter for Bitcoins. Further, individuals who have received Bitcoins as proceeds of illegal sales

on Silk Road-like websites need to sell their Bitcoins to convert them to fiat(government-

backed) currency.

         19.     Such illicit purchases and sales are often facilitated by peer-to-peer Bitcoin

exchangers, who are not registered with the federal or a state government, or by exchangers that

offer a degree of anonymity. These unregistered exchangers often charge a higher transaction

fee than legitimate, registered virtual currency exchangers who have robust anti money

laundering programs, including full customer verification.^ This higher fee is essentially a

premium that the unregistered exchangers charge in return for not filing reports on exchanges

pursuant to the Bank Secrecy Act, such as Currency Transaction Reports and Suspicious Activity




^ Based on my training and experience, I am aware that one of the largest U.S.-based (and registered) virtual
currency exchanges, Coinbase, charges approximately 2-3% commission per transaction.


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Reports. Peer-to-peer Bitcoin exchangers can conduct these transactions in person or through

technology, such as cryptocurrency ATMs(described below).

         V.     BACKGROUND ON VIRTUAL CURRENCY AND FINCEN/BSA
                                REGULATIONS

       20.     Based on my training and experience and the investigation to date, I am aware

that exchangers of virtual currency are considered money transmitters under federal law.

Specifically, I am aware of the following:

               a.       The Bank Secrecy Act(“BSA”) is codified at 31 U.S.C. §§ 5313-5326.

These laws were enacted by Congress to combat the use of financial institutions to launder the

proceeds of crime. 31 U.S.C. § 310 establishes the Financial Crimes Enforcement Network

(“FinCEN”)as a bureau within the Treasury Department, and describes FinCEN's powers and

duties to, among other things, enforce compliance with the BSA.

               b.       The definition of a financial institution under the statute, 31 U.S.C. §

5312(a)(2)(R), includes “a licensed sender of money or any other person who engages as a

business in the transmission of funds[.]” Under the relevant federal regulations, financial

institutions are also defined as ''money servicing businesses,”(“MSBs”)which include “money

transmitters.” S^ 31 C.F.R. § 1010.100(t)(3)(defining “financial institution” as a “money

servicing business”); 31 C.F.R. § 1010.100(ff)(5)(defining money transmitters as money

services businesses).

               c.       In 2013, FinCEN issued guidance that a money transmitter can include an

individual who offers exchange services between virtual currency and fiat currency. See

Application of FinCEN's Regulations to Persons Administering, Exchanging, or Using Virtual

Currencies, FrN-2013-G001, issued March 18, 2013 (the “FinCEN Guidance”). This guidance

was reaffirmed in May 2019. The FinCEN Guidance articulated that those who are money

transmitters because they offer exchange services between virtual currency and fiat currency are

also MSBs and must comply with the applicable portions of the BSA,some of which are

described below.




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               d.      Federal regulations exempt several categories of business and services

from the definition of money transmitter, including communication service providers, payment

processors, physical currency transporters (such as armored car services), prepaid access card

providers, and individuals who transmit funds integral to the sale of goods or provision of

services. 31 C.F.R. § 1010.100(ff)(5)(ii)(A)-(F). None of these exemptions would apply to a

digital currency exchanger, such as Freeman and his associates, as described below.

               e.      Financial institutions, including MSBs and money transmitters, are

required to report each deposit, withdrawal, exchange of currency, or other payment or transfer

involving more than $10,000 in currency. See 31 C.F.R. §§ 1022.300, 1022.310, 1022.311, and

1022.312 (cross-referencing 31 C.F.R. §§ 1010.300, 1010.310, and 1010.311, and 1010.312); see

also 31 U.S.C. § 5313(a). These reports are referred to as Currency Transaction Reports

(“CTRs”). A ‘Transaction” for purpose offiling a CTR includes “multiple currency transactions .

.. if the financial institution has knowledge that they are by or on behalf of any person and result

in either cash in or cash out totaling more than $10,000 during any one business day.” 31 C.F.R.

§ 1010.313. CTRs must be filed within 15 days following the day on which the reportable

transactions occurred. See 31 C.F.R. § 1010.306(a)(1). Financial institutions must verify and

record the name and address of the individual who conducted the reportable transactions, and

must accurately record the identity, social security number, or taxpayer identification number of

any person or entity on whose behalf the reportable transaction was conducted. See 31 C.F.R.

§ 1010.312. CTRs are filed with FinCEN and are made available to law enforcement. It is a

federal crime under Title 31 for an MSB or money transmitter to fail to file a CTR. S^ 31

U.S.C. §§ 5313(a) and 5322.

               f.      In addition to being required to file CTRs, certain MSBs,including money

transmitters, are required to file suspicious activity reports (“SARs”). See 31 C.F.R. §§ 1022.320

(stating at sub-section (a)(1) that money transmitters are a type of MSB required to file SARs).

SARs must be filed on transactions aggregating to at least $2,000 in value and the MSB knows

or has reason to suspect:(1)the funds are derived from illegal activity or are intended to hide or



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disguise funds or assets derived from illegal activity to violate or evade any federal law or

regulation;(2)the transaction is designed to evade the Title 31 reporting requirements;(3)the

transaction services no apparent business or lawful purpose, and there is no other reasonable

explanation for the transaction; and (4)the transaction involves use of the money transmitter to

facilitate criminal activity.    31 C.F.R. §§ 1022.320(a)(2)(i)-(iv). MSBs are required to file a

SAR within 30 calendar days after the date of the initial detection of the underlying facts that

warrant the filing of a SAR. S^31 C.F.R. §§ 1022.320(b)(3). Lastly, MSBs are required to

maintain supporting documentation for the SAR for a period of five years from the date of filing

the SAR. S^ 31 C.F.R. §§ 1022.320(c). It is a federal crime under Title 31 for a money

transmitter to fail to file a SAR. See 31 U.S.C. §§ 5318(g) and 5322.

                g-      Financial institutions, including MSBs and money transmitters, are

required to create and maintain effective anti-money laundering compliance programs. See 31

U.S.C. § 5318(h)(1): see also 31 C.F.R. § 1010.210. The program must have written policies,

procedures, and controls governing the verification of customer identification, the filing of

reports such as CTRs,the creation and retention of records, responses to law enforcement

requests, and other compliance with BSA requirements. The anti-money laundering compliance

program must have a compliance officer who is responsible for assuring that the business

complies with all BSA requirements. It is a federal crime under Title 31 for an MSB or money

transmitter to fail to maintain an effective anti-money laundering compliance program. S^ 31

U.S.C. §§ 5318(h)(1) and 5322.

                h.      Any person who owns or controls an MSB is responsible for registering,

and periodically re-registering, the business with FinCEN. See. 31 U.S.C. § 5330(a); see also 31

C.F.R. § 1022.380. Registration must be done on or before the end of the 180-day period

beginning on the day following the date the business was established. See. 31 C.F.R.

§ 1022.380(b)(3). A money transmitting business that fails to register with FinCEN is subject to

criminal liability under 18 U.S.C. § 1960. Specifically, § 1960 makes criminally liable anyone

who “knowingly conducts, controls, manages, supervises, directs, or owns all or part of an



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unlicensed money transmitting business.” That includes, under 18 U.S.C. § 1960(b)(1)(B), a

business that “fails to comply with the money transmitting business registration requirements

under section 5330 of title 31, United States Code, or regulations prescribed under such

section[.]”

               1.     Additionally, even if a money transmitter is registered with FinCEN, 18

U.S.C. § 1960(b)(1)(C) also criminalizes money transmitting businesses that “involve ... the

transportation or transmission offunds that are known to the defendant to have been derived

from a criminal offense or are intended to be used to promote or support unlawful activity.”

       VI.    BACKGROUND ON CRYPTOCURRENCY AUTOMATED TELLER
                                 MACHINES

       21.     Based on my training and experience, 1 am aware of the following.

       22.     Cryptocurrency ATMs are electronic terminals that act as mechanical agencies of

the owner-operator, to enable the owner-operator to facilitate the exchange of cryptocurrency for

currency or other cryptocurrency. Many types of cryptocurrencies may be purchased through

cryptocurrency ATMs(and in fact the ATMs discussed in this warrant sell different types of

cryptocurrencies including Bitcoin, Bitcoin Cash, Dash and Monero). These cryptocurrency

ATMs may connect directly to a separate exchanger, which performs the actual cryptocurrency

transmission, or they may draw upon the cryptocurrency in the possession of the owner-operator

of the electronic terminal. In this investigation. Freeman used his own cryptocurrency accounts

to provide exchange services. Thus, a transactor at the ATM need not have an account with

Freeman or any connection to Freeman in order to obtain or sell cryptocurrency.

       23.     Under FinCEN's guidance (FIN-2019-GOO 1, May 2019,

https://www.fincen.gov/sites/default/files/2019-

05/FinCEN%20Guidance%20CVC%20FINAL%20508.pdf), an owner-operator of a

cryptocurrency ATM who uses an electronic terminal to accept currency from a customer and

transmit the equivalent value in cryptocurrency (or vice versa) qualifies as a money transmitter

both for transactions receiving and dispensing currency.




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       24.     Cryptocurrency ATMs often look like traditional banking ATMs and can contain

some of the same physical features as a regular bank ATM such as: a touch screen, keypad, cash

dispenser, receipt printer, cash and/or card reader, and are generally free-standing machines.

These features allow crypto ATMs to accept cash for payment, in exchange for cryptocurrency,

which is transferred to the cryptocurrency address of the user’s choice. The kiosk generally gives

a paper receipt that contains the details of the transfer. Cryptocurrency ATMs can also take

cryptocurrency and provide a user with cash, but 1 believe this feature has been disabled on the

ATMs at issue in this case.

       25.     Cryptocurrency ATMs are secured with external locks to both the machine itself

and to the internal cash boxes. Inside the ATM is usually a built-in computer system or digital

tablet configured to run software to facilitate transactions. The hardware and software maintain

computer logs, like any regular computer or tablet, related to the operating system, software

applications, and transactional data. Cryptocurrency ATMs allow the owner/operator to attach a

keyboard to the computer or tablet to interact with the operating system and software for

administrative purposes.

                         V.     SUMMARY OF PROBABLE CAUSE

       26.     In 2017, the FBI, Internal Revenue Service (“IRS”), and the United States Postal

Inspection Service (“USPIS”) initiated an investigation of Freeman and his associates and their

virtual currency-fiat cash exchange business. The investigation has revealed that since at least

2015, Freeman has operated an unlawful money services business(“MSB”)selling millions of

dollars in virtual currency. By operating an unlicensed MSB,Freeman sells virtual currency

without abiding by any FinCEN and Bank Secrecy Act regulations which require MSBs to,

among other things, have an anti-money laundering program, file SARs and CTRs, and collect

know-your-customer information. Freeman runs his business through purported religious

organizations that he and his co-conspirators have founded including the Shire Free Church, the

Crypto Church of NH,the Church of the Invisible Hand, the NH Peace Church, and the

Reformed Satanic Church. In order to mislead banking institutions and prevent them from



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identifying the business as an MSB,Freeman and his co-conspirators engage in a series of lies

and omissions, most commonly describing deposits into bank accounts for virtual currency

purchases as “church donations” and transfers of money to buy virtual currency as “church

outreach.” Freeman also uses personal bank accounts to run his business and instructs co

conspirators to open bank accounts in their names for his use.

        27.       Freeman and others sell virtual currency in two ways. They advertise on peer-to-

peer virtual currency trading websites, such as LocalBitcoins.com (“LBC”) and Paxful.com,

where they accept bank deposits, wires, or cash sent by mail in exchange for cryptocurrency.^

They also operate various cryptocurrency ATMs. Freeman generally charges a 5% to 15% or

higher fee for transactions - which is significantly higher than what a customer is charged by a

regulated virtual currency exchange that complies with U.S. anti-money laundering laws, such as

Coinbase. As of March 6, 2021, FinCEN records confirmed that Freeman, his co-conspirators,

and the entities they operate have not registered with FinCEN as an MSB in violation of 18

U.S.C. § 1960(b)(1)(B).

        28.       Freeman is very careful about making clear that virtual currency clients should

not tell him what they do with their money. In fact, on the ATMs, he posted instructions which

clearly state, “do not tell our staff why you want the coins” and on his LBC profile he wrote,

“what you do with your bitcoin is your business. Don’t tell me what your plans are. If you do, I

reserve the right to refuse the sale.” Nevertheless, law enforcement has learned that criminal

actors who use virtual currency to further their crimes have successfully exploited Freeman’s

business for separate criminal pursuits, often involving online scams and fraud.

                            VI.      STATEMENT OF PROBABLE CAUSE

         The Shire Free Church, Shire Cryptocurrency Vending, and Other Church Entities




^ Localbitcoins.com is a peer to peer Bitcoin exchange. It is an online marketplace where individuals can buy, sell
and trade Bitcoin with each other. The site allows users to post advertisements where they state exchange rates and
payment methods for buying or selling bitcoins. The advertisements allow clients to reply to these advertisements
and agree to meet in person to buy bitcoins with cash, or trade directly with online banking. I know that Paxflil is a
global cryptocurrency trading platform that operates like localbitcoins.com.


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        29.      The Shire Free Church appears to be the original of various related churches

operated by this group. The articles of agreement filed on December 12, 2013, lists board

members Darryl Perry, Ian Freeman, Mark Edgington, Wendy French, and Jason Denonville. As

of 2018, documentation states that only Freeman, Perry, and Edgington remain board members.

The incorporation documents state that, “the corporation will assist the ministers in their mission

fostering peace by facilitating interactions with the people calling themselves ‘the state’

regarding serving the community through positive action for charitable, educational, and

religious purposes. This corporation is established to appease whatever arbitrary and nebulous

dictates handed down by whichever monopolistic violent governmental agency may turn its

capricious attention towards the Shire Free Church, its people, and/or any of its ministers, while

we go about the good work of spreading the ideas of human freedom and morality.” The address

of the church is 73 Leverett Street(Subject Premises A-1).

         30.      According to its website, the church operates “Shire Cryptocurrency Vending.”

The website states that the goal of the organization is not to profit but to foster peace, the mission

of the church. It continues that funds earned are invested in cryptocurrency outreach and other

church outreach projects. It also states that the group operates vending machines in the Keene

college area, Route 101 in Keene, and Murphy’s Taproom in Manchester. I believe these refer to

the ATMs described in A-5, A-2, and A-6 respectively. The website also describes the ATMs as

“vending machines,” which this group claims makes them different from ATMs because they do

not connect directly to cryptocurrency exchanges and therefore do not require “ridiculous

identification requirements.” One of the machines operated by Shire Cryptocurrency Vending is

located at the “Bitcoin Embassy,” the premises described in A-2. According to its website,“the

Bitcoin Embassy of New Hampshire provides education, networking opportunities and
                                                                                             M
innovation in decentralized digital assets, blockchain technologies and more.



^ Freeman also listed the address ofthe Bitcoin Embassy (Subject Premises A-2)as the address of the most recent
church I identified him to operate. Christopher Rietmann’s Linkedin profile lists him as the executive director of the
Bitcoin Embassy. The Bitcoin Embassy is located in a store, previously named Route 101 Goods, recently renamed
“Mighty Moose Mart” that houses the ATM but also sells virtual currency paraphernalia, food, and other goods.


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       31.     Co-conspirators have registered additional churches in their names as well. In

2017, R. Spinella founded the Crypto Church of NH which she registered with the New

Hampshire Secretary of State. She listed the church address as 73 Leverett Street(Subject

Premises A-1). In 2019, Nobody filed an application for trade name for the “Church ofthe

Invisible Hand” with business address of 73 Leverett Street(Subject Premises A-1) as a “church

or religious organization.” On the application he also listed his address as 75 Leverett Street(also

Subject Premises A-1). Freeman is listed as the payer and filer on this form with the New

Hampshire Department of State. In 2020, DiMezzo (under her previous name of James Baker)

applied for a trade name of Reformed Satanic Church, a “religious and community outreach

organization” with the state of New Hampshire, with an address of659 Marlboro street(Subject

Premises A-7), a residence directly adjacent and on the same property as the Bitcoin Embassy

(Subject Premises A-2). In July 2020, Freeman registered the trade name “NH Peace Church”

with its purpose “OTHER / religious” with its principal office listed as 661 Marlboro Street

(Subject Premises A-2) and mailing address of a P.O. box used by Freeman.

                          Fraud Victims and Freeman's Bank Accounts

       32.     The investigation into Freeman began because law enforcement agencies across

the country identified suspicious funds, often determined to be criminal proceeds, being

deposited into accounts operated by Freeman and his associates, including accounts in the name

of the church entities previously discussed. Many deposits included notes describing the deposits

as “church donations.” FBI Agents and other law enforcement officers around the United States

interviewed individuals who deposited money into those bank accounts and determined that

many of these individuals were victims of online scams of various types. Notably, some people

interviewed said they willingly deposited money into Freeman’s bank account in order to

purchase bitcoin and were not victims of any scams. However, none of the individuals

interviewed stated that their purpose in sending money to Freeman was to donate money to a

church. The following are representative samples of some interviews the FBI conducted:




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               a.     On May 16, 2019, an FBI agent interviewed S.D. at S.D.’s

residence in Ohio. S.D. is a widow who, after the death of her husband in July 2017,

started an online relationship with a David Brusch who told her that he was going to

purchase diamonds in South Africa. Brusch convinced S.D. to “get cash and forward it to

people to buy Bitcoin.” When shown a copy of a $25,000 transfer she made to “Ian

Freeman,” S.D. said this transfer of money was done at Brusch’s direction. S.D. does not

know Freeman or the Shire Free Church.

               b.     On May 5, 2019, an FBI agent interviewed J.C. at J.C.’s residence

in North Carolina. J.C. said that she met Adam Karlsson on match.com in June 2018. At

Karlsson’s direction, she subsequently sent money to “Ian Freeman” to “help” Karlsson

and in return for his promise to come to North Carolina and have a relationship with her.

J.C. deposited a total of $36,000 in Freeman’s bank account. J.C. stated that Karlsson

“swindled” her out of her money. J.C. does not know Freeman or the Shire Free Church.

               c.     On July 15, 2019, an FBI agent interviewed D.B. at D.B.’s

residence in Ohio. He recalled that in 2017, he was scammed out of money on multiple

occasions and as part of the scam he specifically remembered sending money to the Shire

Free Church. This scheme involved fraudulent “investments” and D.B. was instructed by

the scammers online to send money to the Shire Free Church to “cover attorney fees.”

D.B. does not know Freeman or the Shire Free Church.

               d.     On July 15, 2019, an FBI agent interviewed K.C.at K.C.’s

residence in Tennessee. Earlier in 2019, K.C. was involved in a lottery scheme where

she was instructed by scammers to open a bank account at SunTrust Bank. K.C. received

checks from the scammers who instructed her to send the funds from these checks to “Ian

Freeman.” K.C. then sent money to Freeman at Axos Bank. K.C. does not know

Freeman or the Shire Free Church.

               e.     On April 14, 2018, an FBI agent interviewed M.F. at a business

near her residence in Michigan. In approximately March 2018, M.F. was contacted by a



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David Brusch, whom she met through an online dating website. Eventually M.F.’s

relationship with Brusch became romantic, although she never met him in person.

Brusch asked M.F. to transfer him money so it could “clear customs. On one occasion,

Brusch instructed M.F. to transfer some ofthis money to an account bearing the name,

“Shire Free Church.” M.F. knows now that Brusch scammed her into making these

transfers and sending him her money. M.F. does not know Freeman or the Shire Free

Church.

               f       On September 5, 2018, an FBI agent interviewed S.E. at S.E.’s

residence in New Hampshire. S.E. met Michael Bumam through Facebook and started

an online romantic relationship with him that, at the time of the interview, had lasted

about five years. Michael asked S.E. to accept wire transfers from him and then move

this money to other accounts. For example, Michael asked S.E. to accept cash that he

mailed to her, approximately $25,000, and then instructed her on how to use Freeman’s

bitcoin ATMs to convert this cash to bitcoin. He specifically directly S.E. to use the

ATM located at Uncommon Goods in Keene,NH (former name of Subject Premises A-

2). S.E. does not know Freeman or the Shire Free Church.

               g-      In late 2018, a medical doctor who lives in Alabama, D.T., fell

victim to a scheme where he was told to send money to help a friend who had been

arrested. D.T. sent $4,020.13 to a bank account in the name of“Colleen Fordham.”

After realizing he was the victim of a scam, D.T. filed a police report with his local

department, and due to the investigation, the bank froze the $4,012.13 in Fordham’s

account until this matter could be resolved. On January 9, 2019, the investigating police

officer received a call from a male who identified himself as “Ian Freeman from the Shire

Free Church in Keene, New Hampshire.” Freeman claimed to be representing Colleen

Fordham and inquired about the issue. The officer’s report states in part, “[f]rom

speaking with Freeman, he seemed to have direct knowledge of the situation, specifically

the reported fraud associated with the account. Freeman said that Fordham initially



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       believed the check was sent legitimately in exchange for Bitcoin. Freeman said he would

       set up a time for the officer to talk to Fordham.” GFA Credit Union ended up returning

       the $4,012.13 to D.T. after Colleen Fordham, through her attorney, gave a notarized

       statement to GFA Credit Union acknowledging the fraudulent activity on her account.

                      h.     In September 2020, P.B. in Texas received a fraudulent email

       purporting to be from the Federal Housing Administration and Federal Trade

       Commission saying that his identity had been compromised and requesting he make

       payments to purchase bitcoin to, among other places, an account opened by Freeman in

       the name NH Peace Church. He was instructed to write “reason for wire; donation.” An

       investigator spoke to Freeman who confirmed he owned the account and said he was a

       bitcoin broker, though denied knowledge of the fraud which led P.B. to make the

       purchase.

       33.    After learning of these and other fraudulent deposits into bank accounts,

investigators received bank records for accounts used by Freeman and associated churches, and a

search warrant for email accounts used by Freeman and co-conspirators. Investigators also used

an undercover officer to purchase bitcoin from Freeman.

                       Undercover Officer(“UC”)& Money Laundering

       34.    Beginning around the fall of 2019, a UC began conducting bitcoin purchases from

Freeman after finding him on LBC. On September 11,2019, Freeman instructed the UC to

deposit money into Colleen Fordham’s personal checking account at TD Bank ending 2980. The

UC was required to send a note saying “I certify I am buying bitcoin from the Shire Free

Church.” The UC deposited approximately $500 and received bitcoin in exchange.

       35.    On or aboutNovember 13, 2019, the UC requested to purchase bitcoin and

Freeman directed him to deposit into a First Tech Credit Union personal checking account in

Freeman’s name ending 8014. The UC deposited approximately $500 and received bitcoin in

exchange.




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       36.      After the first few purchases, Freeman directed the UC to contact him via

Telegram, an encrypted messaging service. He told the UC that he charges 12% for cash deposits

and has a $500 minimum. He said that his friend “Pope Nobody” could handle smaller trades and

that they “work together.” I know that Nobody also uses the moniker Pope Nobody.

       37.      On or about November 15, 2019, the UC contacted Freeman to purchase bitcoin

and Freeman directed him to deposit into his First Tech Credit Union Account 8014 and told him

to write as the reason for the deposit “Purchase of Rare Coins / Investment.” The UC deposited

approximately $500 and received bitcoin in exchange.

       38.      On or about March 17, 2020, the UC contacted Freeman asking if he was still

selling Bitcoin. Freeman responded that he has “CHASE for cash deposit... also can do Wire ..

. cash by mail.” He continued,“Sales are brisk .. . I can handle a lot per day - what do you

need? I have plenty of coin on hand.” The UC responded that he would need up to $20,000 and

when asked how he would pay said, “1 may do each method to spread out if you know what I

mean. When asked about which account to use, Freeman explained that, “the last credit union

froze my account.    When asked why, Freeman responded,“All banks and CUs will close cash

deposit accounts eventually. I’ve lost dozens of accounts over four years. They don’t like cash

deposits coming in from all over. It’s not illegal, but they can get in hot water with the regulators

over it.”

        39.     On April 8, 2020, the UC contacted Freeman to initiate a purchase. Freeman told

him to send the money to JP Morgan Chase Bank Account 9038, account name,“Church of the

Invisible Hand” with the reason for the deposit “Church donation” and Church Address as 73

Leverett St in Keene,(Subject Premises A-1). Nobody is the only authorized signatory on this

account, which was opened by him in January 2020 listing 73 Leverett St. as the address. The

UC deposited $3,000 and Freeman deposited $2,639.45 worth of bitcoin to the UC’s wallet The

UC explained to Freeman,“I mainly deal with cash” and “Tm just trying to get rid of cash lol.”

        40.     On or about April 24, 2020, the UC contacted Freeman about another possible

purchase. This time Freeman said Chase closed his account and directed him to the Church of the



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Invisible Hand account at Bank of America 9633, reason for deposit: church donation. In March

2020, Nobody opened and was the only authorized signatory on this account as well.

       41.     On May 5, 2020, the UC contacted Freeman for another purchase. Freeman

instructed him to mail a check to Ian Freeman at 63 Emerald Street #610. The UC sent a check

for $5,000. Freeman then told the UC that after depositing the check but before it cleared, his

account had been locked, saying “this shit always happens eventually with bank accounts.” He

was very apologetic. Because of the delay, Freeman told the UC that he would thereafter

permanently reduce his fee to 10%. On May 20, 2020,the UC received $4,339.47 in bitcoin.

       42.     On or about May 29, 2020, the UC reached out to Freeman about meeting up for a

transaction and Freeman responded “I am sadly, not selling at this time due to losing two bank

accounts.” On or about June 6, 2020, Freeman told the UC that his friend Aria was accepting

wires and money orders “if you’d like to trade with her, please let me know and I will introduce

you.” Aria is DiMezzo’s first name.

       43.     On or about June 19, 2020, Freeman said he was still on hold with Chase but

directed the UC to the “vending machine at Thirsty Owl.” I know that at the time, Freeman

operated a virtual currency ATM at a bar called the Thirsty Owl in Keene, New Hampshire.

Freeman instructed the UC to let him know when he arrived so that he could reduce the

machine’s rate from 14% to 10%. Freeman admitted that he had the rate higher “the last couple

weeks due to banking/exchange issues.” The UC explained,“I have $1 Ik to get rid of, don’t

want it to be too suspicious with that much cash. Want to hang out around town without the cash

if you know what I mean.” Freeman responded,“We’ve had old ladies go there and drop $40k in

that location.” Freeman continued that, “no ID or phone required to use it, since it’s a private sale

of BTC.” The UC responded, “1 just don’t want any forms filed on me if you know what 1

mean.” Freeman responded,“oh, no way -we have disabled all that nonsense... All ID factors

are turned off. It is a private wallet-to-wallet sale, not money transmission like most machines

do.”




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       44.     When the UC arrived, the machine appeared out of service. The UC contacted

Freeman who in turn called the Thirsty Owl and the owner apologized and turned on the

machine. Freeman lowered the rate to 10%. As the machine only accepted $5,000 at a time, the

UC asked what to about the additional $6,000. Freeman instructed him to start another purchase

clarifying that there was no limit to how many purchases he could make. The UC ultimately

conducted three transactions, two for $5,000 and one for $1,000. He received bitcoin from a

wallet affiliated with Freeman (discussed below).

       45.     After the purchase at the Thirsty Owl, the UC met with Freeman on the town

green in Keene. Freeman introduced the UC as his “long time crypto client.” Nobody and

DiMezzo were also at the meeting. During the meeting. Freeman offered the UC marijuana and

the UC said he has better stuff and that he sells heroin and MDMA. Freeman said he doesn’t do

heroin but maybe could use the MDMA.Freeman told the UC not to tell anyone what the UC

does. Although the conversation was recorded, there is a lot of cross talk, and this part of the

conversation is inaudible.

       46.     On or about July 30, 2020, the UC reached out again requesting to purchase

$20,000. Freeman responded as follows (only excerpts of the text message conversation are

included below and quotes included in this affidavit are approximate):

       FREEMAN: Thank you, I enjoyed meeting you and don’t want to be rude, but
       unfortunately 1 can’t sell you bitcoin because you told me too much about what you do. As you
       probably know, I’m not opposed to your line of work, but I can’t knowingly help you with
       financial matters. I hope you can understand.

       UC: Bummer... I thought I had the perfect connection lol, wish 1 didn’t say anything now ... I
       thought I only told you about cars which is my main thing. Can’t even use your ATM?

       FREEMAN: My answer to the question is -1 can’t KNOWINGLY assist you with financial
       matters... You told me you sell drugs. Therefore to assist you with buying bitcoin would be
       considered money laundering. Money laundering requires knowledge of the illegal activity. I
       don’t think you’re an undercover agent but you got a little too loose lipped, so while 1 am not
       opposed to the sale of drugs, I do need to be careful. Sadly that means 1 cannot KNOWINGLY
       sell bitcoin to you. Nearly every bitcoin seller the feds have taken down have sold to an
       undercover stating they did something illegal to get the money. It’s just not worth the risk to me.

        UC: Those appear to be serious accusations, 1 mean money laundering words. I’m not well
        knowledgeable with these laws as you are, but I can see where you’re coming from. I just though




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       no big deal about selling some drugs to let you know that, since you’re open minded about that
       stuff. I myself always have to watch out for feds too.


       47.     Freeman nevertheless invited the UC to still attend the bitcoin meetups in Keene.

On or about August 25, 2020, the UC went to a meetup in Keene with Freeman and others. At

the end of the meeting, the UC and others had the following conversation (only excerpts

included):



       UC:                     Thirsty Owl open today?
       FREEMAW:-               Yeah, every day.

       MALE VOICE:             [interposing] Okay. What's the closest Bitcoin vending machine?
       UC:                     I actually got to go to one too.
       MALE VOICE:             You can put dollars in and get Bitcoin out - -.
       MALE VOICE:             How do you get Bitcoin out? Is it like a—
       FREEMAN:                [Interposing] If you want to do it without an ID you'd have to go to
                               Keene.
       UC:                     It's like an ATM machine.
       MALE VOICE:             Code or something?
       MALE VOICE:             What's that?


       MALE VOICE              Do you get a code?
       MALE VOICE              You put your wallet, cash inside, and it goes in a wallet.
       MALE VOICE               - - or nothing in addition - -.
       MALE VOICE              Also, I just learned that I should buy some Bitcoins, very seldom,
                               three weeks later, then you make profits.
       UC:                     Depends if it goes up again, yeah.
       MALE VOICE;             Do you pay like captain gains?
       FREEMAN:                 Only if you're a sucker.
       [Laughter]
       MALE VOICE:             Yeah - -.
       MALE VOICE:             Yeah, don't buy through an exchange. Don't buy through any place
                               that asks for a social security number or an ID.
       [Crosstalk]
       [Background Noise]

       MALE VOICE:             Yeah, thanks for coming, guys.
       UC:                     I was gonna swing by and maybe show him - -.
       FREEMAN:                You can just meet us there, yeah.
       UC:                     Can I use it?
       FREEMAN:                I can't tell you that you can’t use that.


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       UC:                   Okay.
       FREEMAN:              Okay?
       UC:                   All right. Thanks, man. I was -

       UC:                   I’m gonna go to the--I have some cash. I want to put into Bitcoin.
                             So I’m gonna use the ATM machine.
       MALE VOICE:           Okay.


       48.    The UC went to the Thirsty Owl where he conducted four approximately $5,000

deposits and received approximately $17,033.76 in bitcoin from the same wallet affiliated with

Freeman as the last purchase there.

                         Freeman’s Knowledge ofMSB Requirements

       49.    From as early as 2016, Freeman has been directly informed by banks and virtual

currency exchanges that his sales of virtual currency and operation of cryptocurrency ATMs

meets the legal definition of an MSB. For example, in July 2016, Freeman tried to open an

account with virtual currency exchange Gemini in the name of the Shire Free Church. Gemini

researched the church and identified Freeman’s ATM business, at that time called “Shire Bitcoin

Vending.” They asked whether he would be using Gemini to source any of the ATMs. Freeman

responded,“Shire Bitcoin Vending is one of many projects of the church” and tliat “Gemini

could be used as a source for bitcoins that eventually could end up in a bitcoin vending machine

as inventory.” On July 14, 2016, Gemini responded,“We do believe Shire Bitcoin Vending

would be considered an MSB and therefore should be registered with FinCEN and maintain an

AML policy.” Gemini declined to open an account for Freeman. Emails show that other financial

institutions told Freeman the same thing.

       50.     In 2017, Freeman provided another virtual currency exchange who determined

that his ATM business made him an MSB, with a letter from an attorney stating his opinion that

Freeman is not an MSB under state or federal law. The letter is dated November 2017. The

theory relied on by the attorney, which Freeman frequently advocates, is that because his ATMs

do not connect directly to a virtual currency exchange and are funded by private wallets Freeman

controls, he is simply conducting a private sale of a good through a vending machine. He says


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that he is therefore not operating as an MSB. The attorney letter provides an opinion only about

the ATM business and not Freeman’s broader virtual currency sales business. I am aware, based

on my training and experience, that operators of unlicensed money service businesses frequently

claim that they are not MSBs because they do not transmit money to third parties. I have

consulted with FinCEN who have explained that the attorney’s opinion and this claim is wrong.

       51.     In fact, on July 13, 2018, about eight months after Freeman received the opinion

from his attorney, FinCEN informed Freeman of this fact. FinCEN sent a letter and email

(recovered in more than one email account Freeman operated) notifying him that FinCEN

“believes that your business is a money services business as defined by the BSA.” The letter

explained that Freeman was required to register with FinCEN and comply with anti-money

laundering, record-keeping, and reporting regulations. The letter provided that if Freeman

disagreed with the characterization of his business as an MSB,he should contact FinCEN within

two weeks with an explanation. FinCEN confirmed that Freeman never contacted them and to

date has not registered his business.

       52.     Freeman did not apparently change any business practices after receiving the

FinCEN letter. Through the beginning of 2020(when email search warrant returns were

received), he continued to send out the 2017 attorney letter and make the same arguments about

why he is not an MSB. Notably, it does not appear that many banks or exchanges were

convinced by Freeman’s arguments as they generally refused to do business with him or closed

his accounts as soon as the nature of his business came to light. Various email exchanges

recovered pursuant to the search warrant also show that other cryptocurrency investors disagreed

with Freeman’s arguments about the law. For example, on July 24, 2018, another investor

provided Freeman with an analysis by his attorney about how FinCEN defines MSBs telling him,

“Yes, by FinCEN’s interpretation, any exchange of one currency for a virtual currency makes

one a money transmitter.” He also sent Freeman FinCEN’s guidance on how they enforce MSB

laws when it comes to virtual currencies.

                                   Freeman’s Banking Activity



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       53.     Financial records show that Freeman generally operates two sets of bank

accounts. Some accounts receive cash deposits, checks, and wires from virtual currency

customers. These accounts can be easily identified because they receive frequent wires and/or

deposits at bank branches across the United States (often multiple deposits in one day at various

different bank branches), an activity consistent with virtual currency for cash sales. Often times,

the memo lines on deposited checks or the reasons for the wire read “church donation.”

Investigators have identified over 20 bank accounts used by Freeman and co-conspirators in this

manner.

       54.     After receiving money into his accounts from customers, Freeman aggregates the

deposits from the first set of accounts and writes large checks to other accounts he controls. The

memo line on these checks frequently reads “church outreach.” Money in this second set of

accounts is then used to purchase virtual currency from exchanges. I believe that Freeman

operates these two sets of accounts to obfuscate the nature of his business. In one email to virtual

currency exchange Bittrex on January 25, 2019, Freeman explained,“1 send wires from my

AXOS account which is funded by checks from the Cheshire County Federal Credit Union

which is funded by local deposits from my church. The funds are allocated to me to purchase

bitcoin for investment purposes.”

       55.     Freeman has openly discussed the fact that banks frequently shut his accounts

down when they learn about the nature of his business. In a November 2019 email, he

wrote:“[I]f I mention virtual currency like bitcoin up front, no bank or credit union will open an

account for me so I have to keep quiet and hope they leave me alone. Eventually, they notice the

large wires, look at the destination, see a virtual currency exchange, and then close my account.

I’ve had it happen to business accounts for my church, of which I am a minister, and also to my

personal accounts. I prefer to wire from my personal accounts ... at the Kraken exchange. This

month I have sent over 1.8 million USD in wires and my current credit union is shutting me

down.” In an October 29, 2019, email with Silvergate Bank(who refused to open an account for

him because of the “risk” involved in supporting his business), Freeman wrote, “[i]t’s no fun



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having to skulk about the banking world, continuing to lose accounts randomly once banks

decide they don’t like sending wires to bitcoin exchanges. I’ve done it for half a decade

successfully, but it sure would be nice to have somewhere to bank that’s not scared or hostile ...

is the risk of which you speak the risk of unwanted government attention and potential fines that

could come from banking for crypto vending operations?” At one point, Freeman specifically

reached out to Walpole Bank, explaining the nature of his business to them and telling them “so

far no bank or credit union is knowingly willing to have us as clients.”

       56.     An analysis of Freeman’s bank accounts confirms that he has engaged in a pattern

of making false or misleading statements to banks when he opens accounts or when the banks

question the purpose of his accounts. He has also used co-conspirators to operate bank accounts

for him. Members of this conspiracy also open personal accounts but use them primarily for the

virtual currency exchange business.

       57.     The most frequent story that Freeman presents to the banks is that he is a minister

of a church and that he is opening accounts to receive church donations and conduct church

outreach. He has opened various accounts in the name of the Shire Free Church. In 2020, he

opened at least one bank account in the name NH Peace Church with himself as a signatory,

which account received deposits for the bitcoin business through at least the end of January

2021. Often, Freeman instructs customers to either write on their check memo lines or provide as

the reason for the deposit or wire if asked at the bank,“church donation.” Customers interviewed

by the FBI would testify that they deposited into Freeman’s accounts to purchase virtual

currency and were not making donations to the church. When asked by banks about these

deposits, Freeman (and his co-conspirators who open accounts on his behalf) frequently repeated

the false statement that the deposits were church donations.

        58.    For example, in May 2016, Freeman applied for a business account for the Shire

Free Church Monadnock at Service Credit Union. On the application. Freeman answered “no” to

the following questions:(1) Does the business transmit currency on behalf of customers and (2)

Does the business sell currency or perform currency exchanges. Bank statements indicate that the



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account was used for bitcoin customers from across the country to deposit money. On April 13,

2017, bank representative David Long called Freeman to update the bank’s “Business

Information Card” and discuss why the account was receiving deposits from shared banking

branches across the country. Freeman falsely told Long that “the funds are from people all over

the country donating to the church services,” that all deposits were related to the Shire Free

Church, and that Freeman reaches “donors” across the country through his radio show.

                            A. Spinella, R. Spinella & Subject Premises A-3

        59.      On April 3, 2018, the FBI interviewed A. Spinella. A. Spinella explained that R.

Spinella^ worked for Freeman and is a close friend of Freeman. He explained that in December

2017, Freeman asked A. Spinella to open accounts in A. Spinella’s name at Wells Fargo, Bank of

America and itBit, also known as Paxos Trust,(a virtual currency exchange) because Freeman

could no longer open accounts in his own name. A. Spinella opened the accounts, but did not use

them for his personal banking. He said that Freeman had explained that one account would be

used for check deposits and another to write checks. A. Spinella was given a book of checks that

Freeman asked him to sign and turn over to him. A. Spinella did so, and Freeman took over the

accounts.

        60.      A. Spinella believed that Freeman used the accounts to purchase and sell Bitcoin.

A. Spinella told the agents that R. Spinella also sold Bitcoin for Freeman on LBC. He believed

she is compensated with 10% of any profit.^ A. Spinella said that Freeman buys the Bitcoin at a

low price and profits from the sales and that his business name has the word “church” in it. A.

Spinella said he signed checks for Freeman two or three times per week. He authenticated his

signature on checks payable to Freeman from his bank accounts.




^ A. Spinella and R. Spinella were not married at the time, and R. Spinella’s maiden name is Renee LeBlanc.
Various of the accounts opened in her name were in her maiden name,though she will be referred to only as R.
Spinella in this affidavit.
^ 1 have reviewed emails between R. Spinella and Freeman that confirm their business relationship, and list amounts
of cryptocurrency on loan to R. Spinella.


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       61.     Bank records show that A. Spinella’s Wells Fargo account(8055) was opened on

November 28, 2017 and shows cash deposits from across the country consistent with virtual

currency purchases. A. Spinella’s Bank of America(“BOA”)account was opened on November

11,2017. Records show checks written from the Wells Fargo account to the BOA account.

Between January 25, 2018, and April 2, 2018, $108,450 in outgoing wire transfers were made to

itBit, a virtual currency exchange from the BOA account. This is consistent with Freeman’s use

of two sets of bank accounts previously discussed.

       62.     R. Spinella has also opened numerous accounts used by Freeman both at banks

and virtual currency exchanges. For example, she opened an account at virtual currency

exchange Gemini in 2017, listing her occupation as homemaker. When questioned about all the

money going through the account she wrote,“I don’t have job but 1 do work at home for myself

with money that has been loaned to me.” When further questioned, she explained,“I have a

private loan from a local church whose ministers I know well. They trust me and helped by

providing me funds so I could continue to work from home rather than go back to a Job.” The

account was closed.

       63.     In 2017, R. Spinella founded the “Crypto Church of New Hampshire.” The

incorporation documents for the Cr>’pto Church of NH list the address as 73 Leverett Street in

Keene (Subject Premises A-1). The object/purpose of the corporation on the NH articles of

agreement filed November 17, 2017, states: “To further the Church’s mission of spreading peace

in accordance with our prophet’s great vision, which was inspired by God. Our actions in

furtherance of this divine mission are for charitable, educational, and religious purposes.” The

only board members are R. Spinella and Christopher Rietmann(who I believe works at the

Bitcoin Embassy, Subject Premises A-2 and lives at Subject Premises A-4). R. Spinella then

opened an account at itBit in the name of the church, providing as the mission of her business:

“to further the church’s mission of spreading peace in accordance with our prophet’s great

vision, which was inspired by God.” She described the source of funds for the account as

“donations.”



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       64.      R. Spinella and A. Spinella reside at Subject Premises A-3. On her 2017

application for the itBit account, R. Spinella listed the registered mailing address of the business

as 73 Leverett Street(Subject Premises A-1) but the physical location address of the church as

Subject Premises A-3. She listed Subject Premises A-3 as the address of the church on a 2018

Kraken application as well. I therefore believe that evidence of her use of the Crypto Church of

NH (or other churches)to conduct the unlawful virtual currency exchange business will be found

at that location.

        65.     R. Spinella has also opened various bank accounts in her name, using the address

of Subject Premises A-3, as recently as the fall of 2020. The accounts opened by R. Spinella

operate the same way as the accounts run by Freeman do. They include many frequent deposits

at different bank branches from virtual currency customers across the country. In many of the

accounts, funds are then aggregated and R. Spinella writes large checks to Freeman for deposit

into his other accounts, indicating that she uses the accounts for the virtual currency exchange

business.

        66.     For example, on January 11,2018, Freeman and R. Spinella went to Service

Credit Union and opened a business account in the name Crypto Church of NH with R. Spinella

as the signer, listing 73 Leverett as the residence (Subject Premises A-1). R. Spinella answered

 no to the following application questions:(1) Does the business transmit currency on behalf of

customers and (2) Does the business sell currency or perform currency exchanges. She included

the following responses: “Major customers: International Ministry” and the bank included the

comment,“online ministry that has members internationally.” The bank employee who opened

the account noted that Freeman provided answers to many of the questions. When asked if he

would be on the account, he said no and that he was “just a member of the church.” R. Spinella

explained that the “church was a universal church and that donations would be coming in from

all over the world. That is where the cash expectancy of $100k is coming from.” On March 12,

2018, Freeman brought a check written from Chris Rietmann’s Route 101 Goods(Subject

Premises A-2’s former name) bank account for $20,000 with the notation, “church donation” and



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deposited it into the account. In addition, some of the checks A. Spinella signed for Freeman

were also deposited into the account.

       67.     I believe that records of R. Spinella and A. Spinella’s participation in the virtual

currency exchange business, financial records of profits earned from the business and

cryptocurrency, and employment relationship with Freeman as well as other evidence of the

crimes under investigation would be found at the premises and on electronic devices they each

use.

                Colleen Fordham, Christopher Rietmann & Subject Premises A-4

       68.     I also believe that Fordham has worked for Freeman in a similar role as R.

Spinella. Specifically, she has described herself as a “contracted payment processor.” In

November 2018, GFA bank investigator April English contacted Fordham about a fraudulent

deposit into her account. Fordham told her that the deposit was for a purchase of“rare coins.”

When questioned further, in subsequent communication with the bank on December 12,2018,

Fordham stated that she was a contracted agent of the non-profit Shire Free Church that engages

in the sale of bitcoin as part of the church’s mission to foster peace. She explained “my role as

the Church’s agent in this process is as a payment facilitator.” As a result of the suspicious

circumstances, the bank contacted the local police who called Fordham to inquire about the

deposit. Fordham again stated that she is the “payment facilitator for the Shire Free Church” and

allows her account to be used by the church to process online bitcoin sales. After Fordham hung

up from the detective, Freeman called the detective, said he represented Fordham, and wanted to

know what the detective needed from her.

       69.     The bank informed Fordham that they would be closing her account and she

provided them with an “Agreement to Assist Shire Bitcoin’s Outreach Operations with Banking

Support” which described her as a contracted payment processor for the Shire Free Church. They

also provided a letter from an attorney stating that Fordham was not operating as a money

transmitter because she works as a payment processor for Freeman.




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       70.      Various accounts opened in Fordham’s name were used for Freeman’s virtual

currency exchange business. For example, the account that Freeman instructed the UC to deposit

money into (ending 2980) was a personal account opened in Fordham’s name, with Subject

Premises #4 as the listed address, on September 27, 2018. From that date to October 2019 when

it was closed, the account received $2,240,431.94 in deposits from across the country and made

$2,042,563 in payments to Freeman’s other accounts, $242,627 wired and $1,799,936 via

checks. Correspondence with TD Bank confirmed that Fordham operated this account for

Freeman. On or about September 24, 2019, according to investigator Kathy Beshey she spoke to

Fordham over the phone about a fraudulent deposit into the account and Fordham stated that she

“sold rare coins and invested in rare coins.” When asked if she shipped the rare coins to

customers, Fordham stated she was only the bookkeeper to the business. Beshey explained that

because the account was opened as a personal account it would be restricted from any business

transactions and the account would be closed. Shortly after they hung up. Freeman called and

though Beshey said she couldn’t discuss details of the account with him, he asked for her title,

name and contact information. On October 2, 2019, Freeman sent a letter explaining that Colleen

serves as a contracted payment processor who assists me, as part of my church mission, in

selling Bitcoin online to buyers around the country.” This account was closed by the bank in

October 2019.

       71.      Rietmann and Fordham are also signatories on various bank accounts in the name

of Route 101 Goods, the former name of the business that now serves as the Bitcoin Embassy.

These bank accounts wrote large checks and made deposits into accounts operated by Freeman

and used for the virtual currency exchange business. In 2019, an FBI UC observed both Fordham

and Christopher Rietmann working at the store/Bitcoin Embassy described in A-2.1 believe that

Rietmann and Fordham have operated the business together. I also believe that Fordham and

Rietmann are in a long-term relationship and that they both reside at Subject Premises A-4. They

both have current registrations with the New Hampshire DMV at that address. I believe that

records of their virtual currency exchange business, the ATM located at the Bitcoin Embassy,



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financial records of profits earned from the business and cryptocurrency, and employment

relationship with Freeman as well as other evidence of the crimes under investigation would be

found at the premises and on electronic devices they each use. I also know that Rietmann’s name

is on the trade name documents for one of the churches opened by R. Spinella and that associated

records may also be found as well.

                             Aria DiMezzo & Subject Premises A-7

       72.     Aria DiMezzo has identified herself as the High Priestess of the Reformed Satanic

Church, an affiliate of the Shire Free Church, also operates accounts used similarly. In July 2020,

U.S. Postal Inspectors (“Inspectors”) in North Carolina identified suspicious parcels, believed to

contain large amounts of cash, being sent from Donald Zofrea, a retired school groundskeeper

living in Knightdale, NC to Freeman. Inspectors confronted Zofrea about the packages, their

contents, and the reason for them being sent. Shortly thereafter, in August 2020, Inspectors

noticed an envelope sent from Freeman to Zofrea, interdicted it, and asked to speak with Zofrea

about it. Zofrea gave consent to search the parcel, which contained a cashier’s check for $50,000

written off of Zofrea’s bank account to the Reformed Satanic Church being mailed from

Freeman back to Zofrea. Zofrea admitted that he had been helping a woman he met on an online

dating website to purchase bitcoin. Zofrea stated that he had been sending money to Ian Freeman

and his wife “Kelly” to purchase bitcoin on behalf of a woman he met online. Zofrea had opened

a bank account on behalf of the woman who would deposit money into the account and then ask

Zofrea to send it to Freeman. On this occasion, Freeman’s “wife” had told him to send the check

to “Ari Dimazza.” I believe this to refer to DiMezzo. Apparently, DiMezzo could not purchase

enough bitcoin to fund the sale and was therefore sending the check back to Zofrea. Exchange

records indicate that DiMezzo has sent bitcoin to the same virtual currency wallet used by

Freeman (the “Holding Wallet” discussed below).

       73.     DiMezzo also posted a YouTube training video on how to sell bitcoin on LBC. In

the video, filmed at the Bitcoin Embassy, she discusses the substantial profits she makes and

gives instruction on how to maximize those profits. She explains that one of the biggest



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challenges is that banks will inevitably close her accounts, emphasizing, “it’s a matter of when,

not if.” She advised, when discussing how to get banks to keep the accounts open longer,“fewer

interactions with human beings is best. Humans will be curious what you’re doing. Automated

systems don’t care.” She also explained that because she sells bitcoin on behalf of a church, she

does not have to pay taxes.

       74.     I believe that DiMezzo resides at 659 Marlboro Street (Subject Premises A-7).

She has paid utilities at that location as recently as records are available, January 2021. The

Reformed Satanic Church trade name documents list this as the address for the church. In

addition, bank records in the name of the church with DiMezzo as the only signer list this as the

address. Paxos Trust records also list this as the address on file for accounts in the name of James

Baker(DiMezzo’s former name) and the institutional account for the Reformed Satanic Church.

A vehicle registered to James Baker has been parked overnight at this address as recently as the

night of March 10, 2021. The post office that delivers mail to the address confirmed that another

individual who I have not linked to this investigation has received mail at the address during the

week of March 7, 2021.

         Nobody, Freeman, and 73-75 Leverett Street Residence (Subject Premises A-1)

       75.     An analysis of bank records has confirmed that Nobody in the name of the Church

of the Invisible Hand has opened bank accounts used by Freeman for his bitcoin business as

well. The accounts he opened show deposits from across the country, consistent with virtual

currency purchases, frequently with “church donation” as the reason for the deposit, and then

large checks/wires out of the accounts to Ian Freeman. In addition, as discussed previously,

Freeman instructed a UC buying bitcoin from him to make a deposit into two of Nobody’s

accounts.

        76.     Freeman resides at 73 Leverett Street in Keene, New Hampshire and has this as

his registered address. According to the City of Keene, New Hampshire Property and Tax

Assessment Department this address, 73-75 Leverett Street in Keene is a duplex. This property

was originally purchased by Ian Bernard (Freeman’s former name)on May 19, 2006. In 2014,



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Freeman transferred ownership of the property to the Shire Free Church Monadnock. Freeman

also operates a nightly radio show, Free Talk Live, or FTL from 73 Leverett Street, which

contains a recording studio. Various people visit the residence to record and/or participate in the

radio show.

       77.     According to records from the NH DMV,seven people including Freeman have

registered addresses at 73 Leverett Street. Seven people including Nobody have registered

addresses at 75 Leverett Street. Freeman is the only name on the utility bill for both 73 and 75

Leverett street as recently as January 2021, the most recent date for which records are available.

A car used by Nobody is frequently parked overnight outside Leverett street and has been there

as recently as March 10, 2021 and I believe 75 Leverett Street to be his primary residence. The

post office that delivers mail to the residence confirmed that there was mail addressed to Ian

Freeman as well as at least two others at 73 Leverett street during the week of March 7, 2021.

The post office confirmed that there was mail addressed to Nobody and at least one other person

at 75 Leverett street during the week of March 7, 2021.

       78.     Investigators who monitored a fixed camera outside the residence in 2019

observed various people coming and going but this review has not allowed me to determine

currently whether others regularly live at each residence. I have also observed various

surveillance cameras located outside the residences. I know that reviewing data from these

cameras may allow me to identify co-conspirators and whether packages coming and going from

the residence are affiliated with the business discussed herein.

        79.    I know that Freeman operates a postal box at the Shipping Shack in Keene, New

Hampshire but that he also receives packages at 73 Leverett Street. 1 believe that Freeman has

sent and received cash through the mail. Sometimes, he has mailed cash out to purchase virtual

currency. I am aware of an investigation by federal agents in Texas who identified a package

with $71,000 dollars sent from Freeman with a note sayinO’ “Ian Freeman is purchasing bitcoin.

        80.     As Nobody and Freeman reside in each side of the duplex, as the property is

owned by the church used to facilitate this crime, as Freeman pays utilities for both sides, and for



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the reasons discussed throughout this affidavit, there is probable cause to believe that both parts

of the residence will contain evidence and proceeds of the crimes discussed herein.

                                        Profitsfrom the Scheme

        81.     Despite frequently stating that he is not operating a “business” and that the church

operates a non-profit, there is substantial evidence that Freeman and his co-conspirators profit

greatly from their scheme. Whereas legitimate exchanges, like Coinbase and Gemini, typically

charge fees of less than 2 percent, Freeman’s fees (both at ATMs and from LBC sales) range

from 5 to 14 percent. Notably, the only benefit Freeman offers over a legitimate exchange is

anonymity and refusal to file SARs and CTRs.^ Freeman is well aware that the lack of

AML/KYC policies is an asset to his business as he frequently touts the “privacy” he offers to

prospective customers.

        82.     Freeman also has stated that he is “a minister of a church and hence do[es] not

receive a paycheck” and has not received one since 2004. He has not filed taxes since at least

2015. Likewise, Freeman’s co-conspirators have either not filed taxes or report minimal income

compared to the profits made from this business. One exchange requested a letter from an

accountant detailing Freeman’s assets and in March 2018, he provided a letter stating that he had

$300,000 in bank accounts, and $2.4 million in other assets. Identified virtual currency wallets

associated with Freeman have current balances worth substantially in excess of $1,000,000.

                                 Operation of Virtual Currency ATMs

        83.      According to records from U.S. Customs and Border Protection (“CBP”)

reviewed by FBI analysts in Washington, D.C., at least eight cryptocurrency ATMs have been

imported to New Hampshire and received by entities or individuals associated with Freeman.

Currently, I believe that Freeman operates at least four ATMs.

        84.      On March 6, 2021, 1 reviewed the website for Shire Cryptocurrency vending. The

website includes addresses for three ATMs operated by the group (though Freeman refers to

’An IRS agent reviewed FinCEN databases and was not able to locate any SARs or CTRs filed by Freeman as of
March 2021.




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them as “vending machines”): at Campus Convenience in Keene (Subject Premises A-5), the

Bitcoin Embassy New Hampshire (Subject Premises A-2), and Murphy’s Taproom in

Manchester, New Hampshire (Subject Premises A-6). It also states that Dash, Bitcoin, Bitcoin

Cash and Monero are available at the cryptocurrency ATMs located at the Bitcoin Embassy in

Keene (Subject Premises A-2) and Murphy’s Tap Room in Manchester (Subject Premises A-6).

       85.     I also reviewed coinatmradar.com on March 6, 2021. Based on my review of

email accounts used by Freeman, I know that he frequently updates the information on his ATMs

with the website. Additionally, the Shire Cryptocurrency Vending website also contains a link to

coinatmradar.com as a place to “track the status of NH’s Cryptocurrency Vending Machines.”

The ATMs identified above are on this website with “Bitcoin Embassy New Hampshire” as the

operator. In addition, the ATM located at the Red Arrow Diner in Nashua also lists “Bitcoin

Embassy New Hampshire as the operator (Subject Premises A-8).

       86.     The devices are wall mounted at the Red Arrow Diner and Murphy’s Tap Room.

The wall mounted devices are accessed by a key on the right side of the device that will open the

right panel and allow access for the wall mount to be removed. The stand-alone cryptocurrency

ATMs are located at the Bitcoin Embassy, and Campus Convenience. The stand-alone devices

are bolted to a floor for security purposes and are accessed with a key to open the system and

remove the mount. All devices have a key that physically open the internal compartments to

remove the cash.

       87.     As detailed below, FBI Agents used U.S. currency to make purchases of virtual

currency at all of the cryptocurrency ATMs. FBI analysts have linked those kiosks to each other

and to Freeman based on the following analysis.

       88.     Between February 25, 2016, and March 2, 2021,the following virtual asset

service provider(VASP)accounts (also referred to in this affidavit as exchanges) withdrew a




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total of approximately 6,458.67 bitcoin directly to various bitcoin addresses. Based on co-spend

analysis^, all these addresses belong to the same wallet (herein,“Holding Wallet”):


                                                      Account
 VASP               Accountholder                     Identifier            Approximate Bitcoin Amount
                                                                            Sent to Holding Wallet
                                                      Ending
 Bittrex            Ian B Freeman                        3b2b3bf419f5                                          40.8
                    Shire Free Church/Ian
 Coinbase                                                           0003
                    Bernard                                                                                     519
                    Shire Free Church
 Coinbase                                                        000Idc
                    Monadnock/Ian Freeman                                                                       154
 Gemini Trust       Ian Freeman                                      250                                         30
 Gemini Trust       Renee LeBlanc                                    473                                        119
 Payward            Ian Freeman                                    BY2I
 Ventures, Inc.                                                                                               1,747

 LocalBitcoins      FTLJan/lAN B                                FTL Ian
                    FREEMAN                                                                                       48
                    ShireBTC/IAN B
 LocalBitcoins                                                ShireBTC
                    FREEMAN                                                                                      6.5
 Paxful             Ian Freeman                                 FTL Ian                                       17.74
 Paxos Trust        Andrew Spinella                                 0389                                          12
 Paxos Trust        Ian Freeman                                     3904                                      1,860
                    Shire Free Church
 Paxos Trust                                                        1514
                    Monadnock/Ian Freeman                                                                     1,731
 Paxos Trust        Renee LeBlanc                                   6670                                        102
 Paxos Trust        James Baker/Aria DiMezzo              ff895e5072c2                                            42
                    Reformed Satanic
 Paxos Trust                                             505b749be625
                    Church/James Baker                                                                        9.482


           89.    Between May 7,2020 and February 4, 2021, an address analysts have identified

as Bitcoin Address 1 received approximately 98 bitcoin (approximately $1,291,600)from the

Holding Wallet.^




® Co-spending is when two or more Bitcoin addresses are used to send bitcoin in a single transaction, which
indicates that a single owner holds the private keys for all those addresses. For example, if addresses A and B are co
spent in one transaction, and addresses B and C are co-spent in a second transaction, analysts will conclude that all
addresses A,B, and C will belong to the same owner.
^ Agents conducted undercover purchases at ATMs located in other parts of the state that they believed were, at the
time, affiliated with Freeman. Records show that the holding wallet funded some of these ATMs as well. I believe
that Freeman no longer operates them and have therefore not discussed them in this affidavit.


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         90.      The following undercover Bitcoin purchases at kiosks operated by Shire Free

Church were conducted by FBI or IRS undercover employees:


                                                      Transaction
     UC Purchase #      Kiosk Location                Date                  Source of Purchased Bitcoin
                    1   Red Arrow Diner(A-8)                    3/5/2021    Bitcoin Address 1
                   2    Keene Convenience(A-5)                  3/5/2021    Bitcoin Address 1
                   3    Murphy's Taproom (A-6)                  8/4/2020    Bitcoin Address 1
                                              10
                   4    Bitcoin Embassy(A-2)                    9/9/2020    Bitcoin Address 1
                   5    Thirsty Owl"                            9/4/2020    Bitcoin Address 1
                   8    Thirsty Owl                           6/19/2020     Bitcoin Address 1
                   9    Thirsty Owl                           8/25/2020     Bitcoin Address 1



                                      Holding Wallet to LBC/Paxful Accounts

         91.      Between February 25, 2016 and May 2, 2019, the Holding Wallet sent


approximately 2,220 bitcoin (approximately $4,367,770) to a LBC account in the name of Ian B

FREEMAN. This LBC account registered the username FTL_Ian using email address


ian@freetalklive.com and a New Hampshire driver’s license in the name of Ian B Freeman.

Between February 26, 2016 and May 2, 2019,the LBC account FTL_Ian completed 3,038 trades

with 1,772 other LBC accounts, selling approximately 3,071 BTC for approximately $6,608,500.


         92.       Additionally, advertisements for this LBC account included options for

transactions at kiosks at Murphy’s Taproom and Route 101 Goods. Further, the account publicly

stated the following information from the accountholder:


                ABOUT ME: I'm an administrator of Shire BTC,the Shire Free Church's outreach project
               dedicated to spreading bitcoin in furtherance of our mission to foster peace. All USD and
               BTC is re-invested in the church's mission. Thanks for being part of it!



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  While conducting an undercover purchase from this ATM,investigators noticed security cameras that appear to
capture the ATM. The surveillance system and associated hard drives therefore may provide evidence about
customers who use the ATM,the operation and control of the ATM, and who empties the cash from the ATM.
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  I believe that the ATM that was previously at the Thirsty Owl may have been moved to Keene Convenience as the
Thirsty Owl is closed for renovations.


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       93.     Between April 11, 2016 and August 7, 2017,the Holding Wallet sent

approximately 375 bitcoin (approximately $171,900) that was ultimately deposited to a LBC

account in the name of Ian B Freeman. This LBC account registered the username ShireBTC

using email address shirebtc+lbc@gmail.com and a New Hampshire driver’s license in the name

of Ian B Freeman. Between April 14, 2016 and July 5, 2016, the ShireBTC LBC account

completed 185 trades with 148 other users, selling approximately 358 BTC for approximately

$172,500. Additionally, advertisements for this account included options for transactions at

kiosks at Murphy’s Taproom, Route 101 Goods, and Thirsty Owl. Further, the account publicly

stated the following information from the accountholder:


       "ABOUT US: We are Shire BTC,the Shire Free Church's outreach project dedicated to
       spreading bitcoin in furtherance of our mission to foster peace. All USD and BTC is re
       invested in the church's mission. Thanks for being part of it!”

       94.     Between October 1,2019 and December 7, 2020, the Holding Wallet sent

approximately 26 bitcoin (approximately $233,490) to a Paxful.com account in the name of Ian

B FREEMAN. This Paxful.com account registered the username FTL_Ian using email address

ian+pax@freetalklive.com and a New Hampshire driver’s license in the name of Ian B Freeman.

Between October 4 2019, and December 17, 2020, the account sold approximately 13.45 bitcoin,

totaling approximately $154,697 in 64 trades with 38 separate Paxful users.


       95.     Between March 10, 2016 and May 6, 2016, a Coinbase account in the name of

Shire Free Church ending in 0003 sent 40 bitcoin to the Holding Wallet. These transactions were

labeled by the Coinbase accountholder as “Church outreach.


       96.     Between October 1,2019, and December 7, 2019, the Holding Wallet sent

approximately 22.9 bitcoin (approximately $184,200) to a single Bitcoin address. Based on co¬

spend analysis, this address belongs to the same wallet as the donation address posted on


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FreeKeene.com and FreeTalkLive.com, websites associated with Freeman’s radio show as of

March 10, 2021 (herein,“FK/FTL Wallet”). In fact, the FK/FTL Wallet received approximately

98% of its total bitcoin from the Holding Wallet.


                               Data Residing on Freeman's ATMs

       97.     Freeman’s ATMs are manufactured by GeneralBytes. GeneralBytes provides the

ability for cryptocurrency ATM operators, such as Freeman, to use on servers that the operator

maintains. In an April 2018 email exchange with GeneralBytes, Freeman said that he would

operate the ATMs from his own server that he runs. This server may be located in Freeman’s

residence described in Subject Premises A-1.

       98.     I believe that seizure of the ATMs will allow agents to physically seize

transaction log data, configuration data on how the kiosks are set up and communicate with the

operator’s technical infrastructure, and access data including private encryptions keys that are

used to communicate with the server.

       99.     A review both of the machines themselves and the server could allow

investigators to identify, among other things, the amounts of virtual currency sold through the

unlawful ATMs and establish ownership and control of the machines.

 VII. TRAINING AND EXPERIENCE REGARDING EVIDENCE ASSOCIATED WITH
                         VIRTUAL CURRENCY

        100.   Because the crimes discussed herein involved the use of virtual currency the items

to be seized could be stored almost anywhere within the residences listed in Subject Premises A-

1, A-3, A-4, and A-7 (the residences of Nobody(75 Leverett), Freeman (73 Leverett), the

Spinellas, Fordham and Rietmann, and DiMezzo respectively) in both physical and electronic

formats. These items could also be stored on the persons of these individuals. For example, I am

requesting authority to seize bitcoin addresses, bitcoin private keys, bitcoin recovery keys, PGP

keys and passwords. Those pieces of data compromise long and complex character strings or

words and, in my training and experience, 1 know that many virtual currency users write down or

otherwise record and store such items because they are too long to commit to memory. As such.


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these keys, passwords and addresses may be documented in writing and secreted anywhere

within a residence or on a person. For all the forgoing reasons, your affiant respectfully submits

that probable cause exists to believe that such records, data and documents will be found within

the places to be searched, including in computers or on other devices that store electronic data.

       101.    I also know that people who engage in financial crimes like operating an

unlicensed money transmitting business and wire fraud often save bank and financial records for

many years and that they often save these records in their residences, especially when they

operate the businesses from their residences. The financial crimes these individuals are charged

with began in 2015 and 1 believe that financial records dating back to that year may be kept in

the residences to be searched. I also believe that Fordham, Rietmann, and Freeman may save

such records in the business they operate described in Subject Premises A-2.1 also believe that

the targets who operated their virtual currency business through church entities would likely save

documents regarding the formation and purpose of those entities in their residences and may

keep such documentation for long periods of time. The locations described in A-1 (73 Leverett),

A-2, A-3, and A-7 are all either physical or mailing addresses for church entities used in

furtherance of the unlawful virtual currency exchange business and therefore I believe that

records of those entities and related financial information will be found in those locations. I also

believe that people general keep financial documents, money, cash equivalents, and other

proceeds of these unlawful schemes in their residence.

        102.   Individuals involved in digital currency use a variety of digital devices, such as

phones and computers. These individuals use multiple digital devices in order to maintain

anonymity and to compartmentalize communication, or use encrypted forms of communication

in speaking with criminal associates like Freeman’s use of Telegram. Additionally, those who

use digital currency may store their recovery key or private keys on digital devices, to include

phones, computers, laptops, tablets, and hardware wallets. Based on my training and experience,

I know that any individual, to include co-conspirators, with access to a cryptocurrency wallet’s




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recovery key or private keys has the means to transfer the corresponding cryptocurrency held in

that wallet. This can be done very quickly.

       103.    People may also store financial records, photos and videos of co-conspirators or

depicting expenditures of money or criminal conduct, contact lists, chats, and other records on

digital devices. This also includes personal digital devices that the individual carries on their

person. I believe that people who use virtual currency to conduct exchanges on the dark web do

so using cell phones and computers.

       104.    I am aware that Freeman operates a server to run the ATMs. I believe he has used

a cellular telephone and has used the phone application Telegram to communicate with

customers. In addition, during an interview with a police officer investigating a fraudulent

bitcoin purchase in the fall of 2020, Freeman referenced having records of the transaction on his

laptop. I have reviewed emails in which Freeman, R. Spinella, A. Spinella, Fordham, and other

co-conspirators have discussed their operation of the unlawful virtual currency exchange

business.

        105.    I also know that this business has generated large amounts of cash. I know that

people often store cash at their residences, in safes, in safe deposit boxes, and storage units. I

also know based on my review of Freeman’s emails that he has purchased gold and other cash

equivalents that constitute proceeds of his business and that these items are likely to be stored in

the same types of places.

               VIII. TRAINING AND EXPERIENCE ON DIGITAL DEVICES

        106.    Based on my training and experience, T am aware that businesses frequently use

computers to carry out, communicate about, and store records about their business operations.

These tasks are frequently accomplished through sending and receiving business-related email

and instant messages; drafting other business documents such as spreadsheets and presentations;

scheduling business activities; arranging for business travel; storing pictures related to business

activities; purchasing and selling supplies online; researching online; and accessing banking,

financial, investment, utility, and other accounts concerning the movement and payment of



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money online. From my training and experience I know that many smartphones can now

function essentially as small computers. They have capabilities that include serving as a wireless

telephone, digital camera, portable media player, GPS navigation device, sending and receiving

text messages and emails, conducting financial activities and storing a vast amount of electronic

data.

        107.   As used herein, the term “digital device” includes any electronic system or device

capable of storing or processing data in digital form, including central processing units; desktop,

laptop, notebook, and tablet computers; personal digital assistants; wireless communication

devices, such as telephone paging devices, beepers, mobile telephones, and smart phones; digital

cameras; gaming consoles (including Sony PlayStations and Microsoft Xboxes); peripheral

input/output devices, such as keyboards, printers, scanners, plotters, monitors, and drives

intended for removable media; related communications devices, such as modems, routers, cables,

and connections; storage media, such as hard disk drives, floppy disks, memory cards, optical

disks, and magnetic tapes used to store digital data (excluding analog tapes such as VHS); and

security devices. Based on my knowledge, training, and experience, as well as information

related to me by agents and others involved in the forensic examination of digital devices, I

know that data in digital form can be stored on a variety of digital devices and that during the

search of a premises it is not always possible to search digital devices for digital data for a

number of reasons, including the following:

               a.      Searching digital devices can be a highly technical process that requires

specific expertise and specialized equipment. There are so many types of digital devices and

software programs in use today that it is impossible to bring to the search site all of the necessary

technical manuals and specialized equipment necessary to conduct a thorough search. In

addition, it may be necessary to consult with specially trained personnel who have specific

expertise in the types of digital devices, operating systems, or software applications that are

being searched.




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                b.       Digital data is particularly vulnerable to inadvertent or intentional

modification or destruction. Searching digital devices can require the use of precise, scientific

procedures that are designed to maintain the integrity of digital data and to recover “hidden,”

erased, compressed, encrypted, or password-protected data. As a result, a controlled

environment, such as a law enforcement laboratory or similar facility, is essential to conducting a

complete and accurate analysis of data stored on digital devices.

                c.       The volume of data stored on many digital devices will typically be so

large that it will be highly impractical to search for data during the physical search of the

premises. A single megabyte of storage space is the equivalent of 500 double-spaced pages of

text. A single gigabyte of storage space, or 1,000 megabytes, is the equivalent of 500,000

double-spaced pages of text. Storage devices capable of storing 500 or more gigabytes are now

commonplace. Consequently,just one device might contain the equivalent of 250 million pages

of data, which, if printed out, would completely fill three 35’ x 35’ x 10’ rooms to the ceiling.

Further, a 500 gigabyte drive could contain as many as approximately 450 full run movies or

450,000 songs.

                d.       Electronic files or remnants of such files can be recovered months or even
                                                                                                          12
years after they have been downloaded onto a hard drive, deleted, or viewed via the Internet.

Electronic files saved to a hard drive can be stored for years with little or no cost. Even when

such files have been deleted, they can be recovered months or years later using readily-available

forensics tools. Normally, when a person deletes a file on a computer, the data contained in the

file does not actually disappear; rather, that data remains on the hard drive until it is overwritten

by new data. Therefore, deleted files, or remnants of deleted files, may reside in free space or

slack space,i^,space on a hard drive that is not allocated to an active file or that is unused after

a file has been allocated to a set block of storage space, for long periods of time before they are

overwritten. In addition, a computer’s operating system may also keep a record of deleted data


12
  These statements do not generally apply to data stored in volatile memory such as random-access memory,or
 ■RAM,” which data is, generally speaking, deleted once a device is turned off.


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in a swap or recovery file. Similarly, files that have been viewed on the Internet are often

automatically downloaded into a temporary directory or cache. The browser typically maintains

a fixed amount of hard drive space devoted to these files, and the files are only overwritten as

they are replaced with more recently downloaded or viewed content. Thus, the ability to retrieve

residue of an electronic fie from a hard drive depends less on when the file was downloaded or

viewed than on a particular user’s operating system, storage capacity, and computer habits.

Recovery of residue of electronic files from a hard drive requires specialized tools and a

controlled laboratory environment. Recovery also can require substantial time.

               e.      Although some of the records called for by this warrant might be found in

the form of user-generated documents (such as word processing, picture, and movie files), digital

devices can contain other forms of electronic evidence as well. In particular, records of how a

digital device has been used, what it has been used for, who has used it, and who has been

responsible for creating or maintaining records, documents, programs, applications and materials

contained on the digital devices are, as described further in the attachments, called for by this

warrant. Those records will not always be found in digital data that is neatly segregable from the

hard drive image as a whole. Digital data on the hard drive not currently associated with any file

can provide evidence of a file that was once on the hard drive but has since been deleted or

edited, or of a deleted portion of a file (such as a paragraph that has been deleted from a word

processing file). Virtual memory paging systems can leave digital data on the hard drive that

show what tasks and processes on the computer were recently used. Web browsers, e-mail

programs, and chat programs often store configuration data on the hard drive that can reveal

information such as online nicknames and passwords. Operating systems can record additional

data, such as the attachment of peripherals, the attachment of USB flash storage devices, and the

times the computer was in use. Computer file systems can record data about the dates files were

created and the sequence in which they were created. This data can be evidence of a crime,

indicate the identity of the user of the digital device, or point toward the existence of evidence in




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other locations. Recovery of this data requires specialized tools and a controlled laboratory

environment, and also can require substantial time.

               f.      Further, evidence of how a digital device has been used, what it has been

used for, and who has used it, may be the absence of particular data on a digital device. For

example, to rebut a claim that the owner of a digital device was not responsible for a particular

use because the device was being controlled remotely by malicious software, it may be necessary

to show that malicious software that allows someone else to control the digital device remotely is

not present on the digital device. Evidence of the absence of particular data on a digital device is

not segregable from the digital device. Analysis of the digital device as a whole to demonstrate

the absence of particular data requires specialized tools and a controlled laboratory environment

and can require substantial time.

               g-      Digital device users can attempt to conceal data within digital devices

through a number of methods, including the use of innocuous or misleading filenames and

extensions. For example, files with the extension “.jpg” often are image files; however, a user

can easily change the extension to “.txt” to conceal the image and make it appear that the file

contains text. Digital device users can also attempt to conceal data by using encryption, which

means that a password or device, such as a “dongle” or “keycard,” is necessary to decrypt the

data into readable form. In addition, digital device users can conceal data within another

seemingly unrelated and innocuous file in a process called “steganography.” For example, by

using steganography a digital device user can conceal text in an image file that cannot be viewed

when the image file is opened. Digital devices may also contain “booby traps” that destroy or

alter data if certain procedures are not scrupulously followed. A substantial amount of time is

necessary to extract and sort through data that is concealed, encrypted, or subject to booby traps,

to determine whether it is evidence, contraband or instrumentalities of a crime. In addition,

decryption of devices and data stored thereon is a constantly evolving field, and law enforcement

agencies continuously develop or acquire new methods of decryption, even for devices or data

that cannot currently be decrypted.



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        108.   I also know from my training and experience and my review of publicly available

materials that several hardware and software manufacturers offer their users the ability to unlock

their devices through biometric features in lieu of a numeric or alphanumeric passcode or

password. These biometric features include fingerprint-recognition, face-recognition, iris-

recognition, and retina-recognition. Some devices offer a combination of these biometric

features and enable the users of such devices to select which features they would like to utilize.

        109.   Ifa device is equipped with a fingerprint scanner, a user may enable the ability to

unlock the device through his or her fingerprints. For example, Apple Inc.(“Apple”) offers a

feature on some of its phones and laptops called “Touch ID,” which allows a user to register up

to five fingerprints that can unlock a device. Once a fingerprint is registered, a user can unlock

the device by pressing the relevant finger to the device’s Touch ID sensor, which on a cell phone

is found in the round button (often referred to as the “home” button) located at the bottom center

of the front of the phone, and on a laptop is located on the right side of the “Touch Bar” located

directly above the keyboard. Fingerprint-recognition features are increasingly common on

modern digital devices. For example,for Apple products, all iPhone 5S to iPhone 8 models, as

well as iPads (5th generation or later), iPad Pro, iPad Air 2, and iPad mini 3 or later, and

MacBook Pro laptops with the Touch Bar are all equipped with Touch ID. Motorola, HTC,LG,

and Samsung, among other companies, also produce phones with fingerprint sensors to enable

biometric unlock by fingerprint. The fingerprint sensors for these companies have different

names but operate similarly to Touch ID.

        no.    If a device is equipped with a facial-recognition feature, a user may enable the

ability to unlock the device through his or her face. To activate the facial-recognition feature, a

user must hold the device in front of his or her face. The device’s camera analyzes and records

data based on the user’s facial characteristics. The device is then automatically unlocked if the

camera detects a face with characteristics that match those of the registered face. No physical

contact by the user with the digital device is necessary for the unlock, but eye contact with the

camera is often essential to the proper functioning of these facial-recognition features; thus, a



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user must have his or her eyes open during the biometric scan (unless the user previously

disabled this requirement). Several companies produce digital devices equipped with a facial-

recognition-unlock feature, and all work in a similar manner with different degrees of

sophistication, e.g„ Samsung’s Galaxy S8(released Spring 2017) and NoteS (released Fall

2017), Apple’s iPhone X (released Fall 2017). Apple calls its facial-recognition unlock feature

“Face ID.” The scan and unlock process for Face ID is almost instantaneous, occurring in

approximately one second.

       111.    While not as prolific on digital devices as fingerprint- and facial-recognition

features, both iris- and retina-scanning features exist for securing devices/data. The human iris,

like a fingerprint, contains complex patterns that are unique and stable. Iris-recognition

technology uses mathematical pattern-recognition techniques to map the iris using infrared light.

Similarly, retina scanning casts infrared light into a person’s eye to map the unique variations of

a person’s retinal blood vessels. A user can register one or both eyes to be used to unlock a

device with these features. To activate the feature, the user holds the device in front of his or her

face while the device directs an infrared light toward the user’s face and activates an infrared-

sensitive camera to record data from the person’s eyes. The device is then unlocked if the

camera detects the registered eye. Both the Samsung Galaxy S8 and Note 8 (discussed

above) have iris-recognition features. In addition, Microsoft has a product called “Windows

Hello” that provides users with a suite of biometric features including fingerprint-, facial-, and

iris-unlock features. Windows Hello has both a software and hardware component, and multiple

companies manufacture compatible hardware, e.g.. attachable infrared cameras or fingerprint

sensors, to enable the Windows Hello features on older devices.

        112.   In my training and experience, users of electronic devices often enable the

aforementioned biometric features because they are considered to be a more convenient way to

unlock a device than entering a numeric or alphanumeric passcode or password. Moreover, in

some instances, biometric features are considered to be a more secure way to protect a device’s

contents.



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       113.    I also know from my training and experience, as well as from information found

in publicly available materials including those published by device manufacturers, that biometric

features will not unlock a device in some circumstances even if such features have been enabled.

This can occur when a device has been restarted or inactive, or has not been unlocked for a

certain period of time. For example, with Apple’s biometric unlock features, these

circumstances include when:(1) more than 48 hours has passed since the last time the device

was unlocked;(2)the device has not been unlocked via Touch ID or Face ID in eight hours and

the passcode or password has not been entered in the last six days;(3)the device has been turned

off or restarted;(4)the device has received a remote lock command;(5)five unsuccessful

attempts to unlock the device via Touch ID or Face ID are made; or(6)the user has activated

“SOS” mode by rapidly clicking the right side button five times or pressing and holding both the

side button and either volume button. Biometric features from other brands carry similar

restrictions. Thus, in the event law enforcement personnel encounter a locked device equipped

with biometric features, the opportunity to unlock the device through a biometric feature may

exist for only a short time. I do not know the passcodes of the devices likely to be found during

the search.

       114.    In my training and experience, the person who is in possession of a device or has

the device among his or her belongings at the time the device is found is likely a user of the

device. However, in my training and experience, that person may not be the only user ofthe

device whose physical characteristics are among those that will unlock the device via biometric

features (such as with Touch ID devices, which can be registered with up to five fingerprints),

and it is also possible that the person in whose possession the device is found is not actually a

user of that device at all. Furthermore, in my training and experience, I know that in some cases

it may not be possible to know with certainty who is the user of a given device, such as if the

device is found in a common area of a premises without any identifying information on the

exterior of the device.




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        115.   For these reasons, if while executing the warrant at Subject Premises A-1, law

enforcement personnel encounter a digital device that may be unlocked using one of the

aforementioned biometric features, the warrant I am applying for would permit law enforcement

personnel to, with respect to Freeman and Nobody, during the execution of the search and who is

reasonably believed by law enforcement to be a user of a biometric sensor-enabled device that is

(a) located at the place searched and (b) falls within the scope of the warrant:(1)compel the use

of the person’s thumb- and/or fingerprints on the device(s); and (2) hold the device(s) in front of

the face of the person with his or her eyes open to activate the facial-, iris-, and/or retina-

recognition feature. With respect to fingerprint sensor-enabled devices, although I do not know

which of the fingers are authorized to access any given device, I know based on my training and

experience that it is common for people to use one of their thumbs or index fingers for

fingerprint sensors; and, in any event, all that would result from successive failed attempts is the

requirement to use the authorized passcode or password.

        116.    If while executing the warrant at Subject Premises A-3, law enforcement

personnel encounter a digital device that may be unlocked using one of the aforementioned

biometric features, the warrant I am applying for would permit law enforcement personnel to,

with respect to A. Spinella and R. Spinella, during the execution of the search and who is

reasonably believed by law enforcement to be a user of a biometric sensor-enabled device that is

(a) located at the place searched and (b) falls within the scope of the warrant:(1) compel the use

of the person’s thumb- and/or fingerprints on the device(s); and (2) hold the device(s) in front of

the face of the person with his or her eyes open to activate the facial-, iris-, and/or retina-

recognition feature. With respect to fingerprint sensor-enabled devices, although I do not know

which of the fingers are authorized to access any given device, I know based on my training and

experience that it is common for people to use one of their thumbs or index fingers for

fingerprint sensors; and, in any event, all that would result from successive failed attempts is the

requirement to use the authorized passcode or password.




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        117.   If while executing the warrant at Subject Premises A-4, law enforcement

personnel encounter a digital device that may be unlocked using one of the aforementioned

biometric features, the warrant I am applying for would permit law enforcement personnel to,

with respect to Fordham and Rietmann, during the execution of the search and who is reasonably

believed by law enforcement to be a user of a biometric sensor-enabled device that is (a) located

at the place searched and (b)falls within the scope of the warrant:(1) compel the use ofthe

person’s thumb- and/or fingerprints on the device(s); and (2) hold the device(s) in front of the

face of the person with his or her eyes open to activate the facial-, iris-, and/or retina-recognition

feature. With respect to fingerprint sensor-enabled devices, although 1 do not know which of the

fingers are authorized to access any given device, I know based on my training and experience

that it is common for people to use one of their thumbs or index fingers for fingerprint sensors;

and, in any event, all that would result from successive failed attempts is the requirement to use

the authorized passcode or password.

        118.   If while executing the warrant at Subject Premises A-7, law enforcement

personnel encounter a digital device that may be unlocked using one of the aforementioned

biometric features, the warrant I am applying for would permit law enforcement personnel to,

with respect to DiMezzo, during the execution of the search and who is reasonably believed by

law enforcement to be a user of a biometric sensor-enabled device that is (a) located at the place

searched and (b) falls within the scope of the warrant:(1)compel the use of the person’s thumb-

and/or fingerprints on the device(s); and (2) hold the device(s) in front of the face of the person

with his or her eyes open to activate the facial-, iris-, and/or retina-recognition feature. With

respect to fingerprint sensor-enabled devices, although I do not know which of the fingers are

authorized to access any given device, I know based on my training and experience that it is

common for people to use one of their thumbs or index fingers for fingerprint sensors; and, in

any event, all that would result from successive failed attempts is the requirement to use the

authorized passcode or password.




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        119.      The proposed warrant does not authorize law enforcement to compel that an

individual present at the Subject Premises state or otherwise provide the password or any other

means that may be used to unlock or access the devices. Moreover, the proposed warrant does

not authorize law enforcement to compel an individual present at the Subject Premises to identify

the specific biometric characteristics (including the unique finger(s) or other physical features)

that may be used to unlock or access the Devices.

                                         IX. CONCLUSION

        120.      For all the reasons described above, there is probable cause to believe that

evidence of violations of 18 U.S.C. §§ 1960, 371 (prohibition of unlicensed money transmitting

business and conspiracy), 18 U.S.C. §§ 1343, 1349 (conspiracy to commit wire fraud and wire

fraud), 18 U.S.C. § 1956(a)(laundering of monetary instruments, including funds represented to

be proceeds of specified unlawful activity), 31 U.S.C. §§ 5313(a) and 5322 (failure to file

currency transaction reports (“CTRs”)), and 31 U.S.C. § 5318(h) and 5322(failure to maintain

an effective anti-money laundering program)(collectively, the “Subject Offenses”), as described

above in Attachments B-1 through B-15 of this affidavit will be found in a search of SUBJECT

PREMISES A-1 through A-15 as further described above and in Attachments A-1 to A-15 of

this affidavit.



                                                 Respectfully Submitted,

                                                /s/ Kathryn Thibault
                                                Kathryn Thibault
                                                Special Agent, Federal Bureau of Investigation

The affiant appeared before me by telephonic conference on this date pursuant to Fed. R. Crim.
P. 4.1 and affirmed under oath the content of this affidavit and application.

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 Date: Mar 15, 2021
 Time: 3:48 PM, Mar 15, 2021              HONORABLE ANDREA K. JOHNSTCre
                                          UNITED STATES MAGISTRATE JUDGE




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                                      ATTACHMENT A-2

        Bitcoin Embassy aka Mighty Moose Mart(formerly Route 101 Goods), 661 Marlboro
Street, Keene, New Hampshire including any locked safes, containers or enclosures therein.

         The structure is a one level commercial building. The property sits facing Marlboro
Street, is painted in a cream colored tone with an orange and lime green trim. The structure has
two front entrances in the center area and right side of the structure. The building has two large
glass windows/panels to the left of the front center entrance and one glass panel on the right side
of the front center entrance. The window located to the left of the front center entrance has a
Mighty Moose Mart Sign printed on the entire window surface. There is an exterior ice machine
located on the left side of the structure after the second window. The window located to the right
of the center front door has a large “B” neon sign for Bitcoin being sold at that location. The
entrance located on the right side of the structure has a sign posted stating Bitcoin Embassy New
Hampshire. The address of 661 is posted to the left of the front door entrance. There are utility
components located on the exterior of the structure between the two front entrances. The interior
of the structure contains food and drink items for sale to include an ATM Virtual Currency
device located on the interior right side of the structure.




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                                      ATTACHMENT B-2

                                     ITEMS TO BE SEIZED
       1.      The items to be seized are evidence, contraband, fruits, or instrumentalities of

violations of 18 U.S.C. §§ 1960, 371 (prohibition of unlicensed money transmitting business and

conspiracy), 18 U.S.C. §§ 1343, 1349 (conspiracy to commit wire fraud and wire fraud), 18

U.S.C. § 1956(a)(laundering of monetary instruments, including funds represented to be

proceeds of specified unlawful activity), 31 U.S.C. §§ 5313(a) and 5322 (failure to file currency

transaction reports ("CTRs”)), and 31 U.S.C. § 5318(h) and 5322 (failure to maintain an

effective anti-money laundering program)(collectively, the “Subject Offenses”), namely:

               a.      Bitcoin kiosks and/or other automated teller machines(“ATMs”)and

related equipment.

               b.      Records of any accounts or transactions within the traditional banking or

credit systems, payment processors, or via cryptocurrencies such as Bitcoin, Monero, Dash, or

Bitcoin cash from 2015 to the present.

               c.      Tax records from 2015 to the present.

               d.      Employer records, incorporation documentation, tax records, or other

business records relating to Shire Bitcoin Vending, the Shire Free Church, the NH Peace Church,

Reformed Satanic Church, Church of the Invisible Hand, or any other church or entity used to

buy or sell virtual currency.

               e.      Keys to Bitcoin kiosks, cash boxes, and safety deposit boxes and

associated records.

               f.      Virtual currency and related records of any kind, to include: any and all

representations of virtual currency public keys or addresses, whether in electronic or physical

format; any and all representations of virtual currency private keys, whether in electronic or

physical format; any and all representations of virtual currency wallets or their constitutive parts,




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whether in electronic or physical format, to include "recovery keys" which may be used to

regenerate a wallet;

                  g-        PGP keys and/or encryption passwords or keys of any kind;

                  h.        Books, records, correspondence, ledgers, logs,journals, accounts payable

and receivable, pay-owe sheets, contracts, letters and memoranda of agreements between

potential co-conspirators, formulas, receipts, phone records, phone books, address books,

notations and other papers, and any files relating to the transmission and exchange of

cryptocurrency and/or other monetary instruments.

                  1.        Indicia of occupancy, residency, and/or ownership of the previously

described property, premises, or vehicles, and any other property, premises, or vehicles,

including utility and telephone bills, canceled mail, deeds, leases, rental agreements,

photographs, personal telephone books, diaries, envelopes, registration, receipts, and keys which

tend to show the identities of the occupants, residents, and/or owners.

                  J-        United States currency in excess of $1,000, digital currency such as

Bitcoin stored on electronic wallets or other forms of wallets or other means, cryptocurrency

private keys and recovery seed, precious metals,jewelry, casino chips, and records relating to

income derived from the operation of an illicit business for example, money orders, wire

transfers, cashier’s checks and receipts, passbooks, cash cards, gift cards, checkbooks, check

registers, securities, antique or modem automobiles, bank statements and other financial

instruments, including stocks or bonds in amounts indicative of the proceeds of illicit money

movement.




14
  In order to effectuate this seizure, the United States is authorized to load any wallet files, their constitutive parts,
or private keys, onto the Government’s own servers. The United States is further authorized to transfer any
identified virtual currency to a virtual currency address controlled by the United States. The United States is also
authorized to maintain a copy of the virtual currency wallet file(s) loaded onto the Government’s servers. The
restored wallet file(s) will continue to collect any bitcoin transferred into the seized bitcoin wallets as a result of
transactions that were pending at the time of the seizure. The United States is authorized to transfer any bitcoin
received by the restored wallet(s) into a virtual currency address controlled by the United States.




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              k.      Evidence of use of possession of other storage units or safety deposit

boxes (including keys or access codes) capable of storing proceeds of unlawful activity.

               1.     Video surveillance cameras and related operating equipment and hard

drives.




                                               Xll
